                                      Case 20-30642             Doc 1       Filed 07/16/20         Page 1 of 97


Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF FLORIDA

Case number (if known)                                                     Chapter    7
                                                                                                                        Check if this an
                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                      04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                SBIH, LLC

2.   All other names debtor       DBA Shrimp Basket Auburn
     used in the last 8 years     DBA Shrimp Basket Bay Minette
     Include any assumed
                                  DBA Shrimp Basket Columbus
     names, trade names and       DBA Shrimp Basket Cullman
     doing business as names      DBA Shrimp Basket Destin
                                  DBA Shrimp Basket Evergreen
                                  DBA Shrimp Basket Foley
                                  DBA Spence Enterprises
                                  DBA Shrimp Basket Ft. Walton
                                  DBA Shrimp Basket Gardendale
                                  DBA Shrimp Basket Gulf Shores
                                  DBA Shrimp Basket Gulfport
                                  DBA Shrimp Basket Hattiesburg
                                  DBA Shrimp Basket Homewood
                                  DBA Shrimp Basket Irondale
                                  DBA Shrimp Basket Madison
                                  DBA Shrimp Basket Milton
                                  DBA Shrimp Basket Montgomery
                                  DBA Shrimp Basket Navarre
                                  DBA Shrimp Basket Navy (Davis)
                                  DBA Shrimp Basket Nine Mile
                                  DBA Shrimp Basket Old Shell Road
                                  DBA Shrimp Basket Orange Beach
                                  DBA Shrimp Basket Panama City
                                  DBA Shrimp Basket Panama City Beach
                                  DBA Shrimp Basket Pensacola Beach
                                  DBA Shrimp Basket Perdido Key
                                  DBA Shrimp Basket Ridgeland
                                  DBA Shrimp Basket Tillman's Corner
                                  DBA Shrimp Basket Tuscaloosa
                                  DBA Shrimp Basket Warrington
                                  DBA The Shrimp Basket
                                  FDBA Shrimp Basket Intermediate Holdings, LLC

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                 Mailing address, if different from principal place of
                                                                                              business

                                                                                              c/o G2 Capital Advisors, LLC
                                  7282 Plantation Rd., #301                                   420 Boylston St., #302
                                  Pensacola, FL 32504                                         Boston, MA 02116
                                  Number, Street, City, State & ZIP Code                      P.O. Box, Number, Street, City, State & ZIP Code

Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 1
                                  Case 20-30642              Doc 1        Filed 07/16/20           Page 2 of 97
Debtor   SBIH, LLC                                                                          Case number (if known)
         Name



                              Escambia                                                        Location of principal assets, if different from principal
                              County                                                          place of business

                                                                                              Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor              Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                 Partnership (excluding LLP)
                                 Other. Specify:




Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                        Case 20-30642               Doc 1         Filed 07/16/20              Page 3 of 97
Debtor    SBIH, LLC                                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment                                                  Relationship
                                                 District                                 When                              Case number, if known


Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 3
                                    Case 20-30642                Doc 1        Filed 07/16/20            Page 4 of 97
Debtor   SBIH, LLC                                                                               Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
                                           Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal    Yes.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes.       Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
                                     Case 20-30642                Doc 1        Filed 07/16/20             Page 5 of 97
Debtor    SBIH, LLC                                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 16, 2020
                                                  MM / DD / YYYY


                             X   /s/ Jeffrey T. Varsalone                                                 Jeffrey T. Varsalone
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X   /s/ Richard R. Thames                                                     Date July 16, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Richard R. Thames
                                 Printed name

                                 Thames Markey & Heekin, PA
                                 Firm name

                                 50 North Laura Street
                                 Suite 1600
                                 Jacksonville, FL 32202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     904-358-4000                  Email address      abd@tmhlaw.net

                                 0718459 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                                      Case 20-30642            Doc 1       Filed 07/16/20          Page 6 of 97
Debtor     SBIH, LLC                                                                        Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF FLORIDA

Case number (if known)                                                   Chapter      7
                                                                                                                        Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     SB FSD, LLC                                                             Relationship to you               Subsidiary
District   Northern District of Florida               When                         Case number, if known
Debtor     SBBC Shell, LLC                                                         Relationship to you               Subsidiary
District   Northern District of Florida               When                         Case number, if known
Debtor     SBNH, LLC                                                               Relationship to you               Parent company
District   Northern District of Florida               When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 6
                                          Case 20-30642                   Doc 1        Filed 07/16/20            Page 7 of 97




 Fill in this information to identify the case:

 Debtor name         SBIH, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 16, 2020                           X /s/ Jeffrey T. Varsalone
                                                                       Signature of individual signing on behalf of debtor

                                                                       Jeffrey T. Varsalone
                                                                       Printed name

                                                                       Chief Restructuring Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            SBIH, LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            25,833.61

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            25,833.61


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       22,125,302.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            10,733.49

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        2,006,449.89


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         24,142,485.38




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                          Case 20-30642               Doc 1      Filed 07/16/20       Page 9 of 97

 Fill in this information to identify the case:

 Debtor name          SBIH, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No.   Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number
                     Synovus Bank [account title - Shrimp
                     Basket of Perdido Key, LLC] [book                      Business Checking
            3.1.     balance as of 07/15/2020]                              Account                          4093                                    $25,833.61



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                     $25,833.61
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:    Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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 Debtor         SBIH, LLC                                                                    Case number (If known)
                Name



                                                                                                     Valuation method used   Current value of
                                                                                                     for current value       debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:

 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture
            Name of entity:                                               % of ownership
                     SBBC Shell, LLC; EIN - XX-XXXXXXX
            15.1.    [subsidiary debtor entity]                                     100       %                                          Unknown



                     SB FSD, LLC; EIN - XX-XXXXXXX [subsidiary
            15.2.    debtor entity]                                                 100       %                                          Unknown



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:


 17.        Total of Part 4.                                                                                                              $0.00
            Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:    Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         SBIH, LLC                                                                    Case number (If known)
                Name



     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.
                                                                                                                      Current value of
                                                                                                                      debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities
            National Surety Corporation Commercial Business
            Insurance Policy No. S.60.MXC80517990 [08/01/2019 -
            08/01/2020]                                                                                                                 $0.00


            Independent Speciality Insurance Company General
            Property Insurance Policy No. VIS.CN.0001917.01
            [08/01/2019 - 08/01/2020]                                                                                                   $0.00


            Certain Underwriters at Lloyds (Consortium #9226)
            General Property Insurance Policy No.
            VPC.CN.0001917.01 [08/01/2019 - 08/01/2020]                                                                                 $0.00


            Interstate Fire & Casualty Company General Property
            Insurance Policy No. VRX.CN.0001917.01 [08/01/2019 -
            08/01/2020]                                                                                                                 $0.00



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                        $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 3
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 Debtor          SBIH, LLC                                                                                           Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $25,833.61

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $25,833.61          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $25,833.61




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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                                             Case 20-30642                Doc 1        Filed 07/16/20              Page 13 of 97

 Fill in this information to identify the case:

 Debtor name          SBIH, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                  Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
        Hitachi Capital America
 2.1                                                  Describe debtor's property that is subject to a lien                       Unknown                  Unknown
        Corp.
        Creditor's Name                               Conditioned Air Solutions 200 unit
        7808 Creekridge Cir., #250
        Minneapolis, MN 55439
        Creditor's mailing address                    Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        0001
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    M2 Lease Funds, LLC                           Describe debtor's property that is subject to a lien                       Unknown                  Unknown
        Creditor's Name                               Certain kitchen equipment
        175 N. Patrick Blvd., #140
        Brookfield, WI 53045
        Creditor's mailing address                    Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply



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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




 2.3
        Shrimp Basket
        Restaurants, LLC                              Describe debtor's property that is subject to a lien                  $22,125,302.00                  $0.00
        Creditor's Name                               Blanket lien on all assets
        201 N. New York Ave., #200
        Winter Park, FL 32789
        Creditor's mailing address                    Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                               $22,125,302.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Hitachi Capital America Corp.
         P.O. Box 1880                                                                                         Line   2.1
         Minneapolis, MN 55480-1880




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         SBIH, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                       Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                   $0.00      $0.00
           Alabama Dept. of Revenue                                  Check all that apply.
           Corporate Tax Section                                      Contingent
           P.O. Box 327430                                            Unliquidated
           Montgomery, AL 36132-7430                                  Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                   $0.00      $0.00
           Baldwin County Revenue                                    Check all that apply.
           Commission                                                 Contingent
           201 E. Section Ave.                                        Unliquidated
           Foley, AL 36535                                            Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       SBIH, LLC                                                                                       Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $3,193.52    $3,193.52
          Bay County Tax Collector                                   Check all that apply.
          850 W. 11th St.                                             Contingent
          Panama City, FL 32401                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     [balance as of 06/16/2020]
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          Columbus Tax Comissioner                                   Check all that apply.
          3111 Citizens Way                                           Contingent
          Columbus, GA 31906                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          Conecuh County Tax Collector                               Check all that apply.
          111 Court St., #106                                         Contingent
          Evergreen, AL 36401                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          Cullman County Revenue                                     Check all that apply.
          Commissioner                                                Contingent
          500 2nd Ave. SW, #102                                       Unliquidated
          Cullman, AL 35055                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       SBIH, LLC                                                                                       Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Escambia County Tax Collector                              Check all that apply.
          213 Palafox Pl.                                             Contingent
          Pensacola, FL 32502                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          FL Dept. of Revenue                                        Check all that apply.
          5050 W. Tennessee St.                                       Contingent
          Tallahassee, FL 32399                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          FL Dept. of State                                          Check all that apply.
          Clifton Building                                            Contingent
          2661 Executive Center Dr.                                   Unliquidated
          Tallahassee, FL 32301                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Forrest Tax Collector's Office                             Check all that apply.
          601 Main St.                                                Contingent
          Hattiesburg, MS 39401                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       SBIH, LLC                                                                                       Case number (if known)
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Georgia Dept. of Revenue                                   Check all that apply.
          P.O. Box 740397                                             Contingent
          Atlanta, GA 30374-0397                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Harrison County Tax Collector                              Check all that apply.
          1801 23rd Ave.                                              Contingent
          Gulfport, MS 39501                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Internal Revenue Service                                   Check all that apply.
          P.O. Box 7346                                               Contingent
          Philadelphia, PA 19101-7346                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jefferson County Tax Assessor                              Check all that apply.
          716 Richard Arrington Jr. Blvd. N                           Contingent
          #170                                                        Unliquidated
          Birmingham, AL 35203                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       SBIH, LLC                                                                                       Case number (if known)
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          Lee County Revenue                                         Check all that apply.
          Commissioner                                                Contingent
          215 S. 9th St.                                              Unliquidated
          Opelika, AL 36801                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          Louisiana Dept. of Revenue                                 Check all that apply.
          P.O. Box 201                                                Contingent
          Baton Rouge, LA 70821-0201                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          Madison County Tax Assessor                                Check all that apply.
          171 Cobblestone Dr.                                         Contingent
          Madison, MS 39110                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $7,539.97    $7,539.97
          Madison County Tax Collector                               Check all that apply.
          100 North Side Square, #116                                 Contingent
          Huntsville, AL 35801                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     [balance as of 06/16/2020]
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       SBIH, LLC                                                                                       Case number (if known)
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Mississippi Dept. of Revenue                               Check all that apply.
          P.O. Box 23050                                              Contingent
          Jackson, MS 39225-3050                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Mobile County Revenue                                      Check all that apply.
          Commission                                                  Contingent
          3925 Michael Blvd., #G                                      Unliquidated
          Mobile, AL 36609                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Montgomery Revenue                                         Check all that apply.
          Commission                                                  Contingent
          100 S. Lawrence St.                                         Unliquidated
          Montgomery, AL 36104                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Okaloosa County Tax Collector                              Check all that apply.
          1250 N. Eglin Pkwy., #101                                   Contingent
          Shalimar, FL 32579                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor        SBIH, LLC                                                                                      Case number (if known)
               Name

 2.23       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $0.00    $0.00
            Santa Rosa County Tax Collector                          Check all that apply.
            6495 Caroline St. E                                       Contingent
            Milton, FL 32570                                          Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.24       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $0.00    $0.00
            Tuscaloosa County Tax Collector                          Check all that apply.
            714 Greensboro Ave.                                       Contingent
            Tuscaloosa, AL 35401                                      Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $250.00
           A Perfect Pressure Cleaning Inc                                          Contingent
           P O Box 55                                                               Unliquidated
           Baker, FL 32531                                                          Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     [Shrimp Basket Madison] [balance as of 06/16/2020]
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $295.80
           Aaron's Lock                                                             Contingent
           190 Northside Cir.                                                       Unliquidated
           Gulf Shores, AL 36542                                                    Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     [balance as of 06/16/2020]
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $335.40
           Aaron's Lock Service                                                     Contingent
           190 Northshore Cir.                                                      Unliquidated
           Gulf Shores, AL 36542                                                    Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     [balance as of 06/16/2020]
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes




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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,434.35
          Ackerman Security Systems                                           Contingent
          1346 Oakbrook Dr., #175                                             Unliquidated
          Norcross, GA 30093                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $308.00
          Acoustical Specialist Inc                                           Contingent
          P O Box 37190                                                       Unliquidated
          Pensacola, FL 32526                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Intermediate] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $337.50
          Air Care Systems                                                    Contingent
          P O Box 1621                                                        Unliquidated
          Hunstville, AL 35807                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Madison] [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,505.32
          Air Flow Mechnical Services, LLC                                    Contingent
          P.O. Box 121                                                        Unliquidated
          Pensacola, FL 32504                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,032.54
          Airgas National Carbonation                                         Contingent
          P O Box 734673                                                      Unliquidated
          Dallas, Tx 75373-4673                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,457.67
          Akerman LLP                                                         Contingent
          P.O. Box 4906                                                       Unliquidated
          Orlando, FL 32801                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,978.08
          Alabama Power                                                       Contingent
          P. O. Box 242                                                       Unliquidated
          Birmingham, AL 35292                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Alicia Averitt                                                      Contingent
          24749 Daw Rd.
          Elberta, AL 36530
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    EEOC charge of discrimination
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $198,886.45
          American Express                                                    Contingent
          P.O. Box 650448                                                     Unliquidated
          Dallas, TX 75265                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,215.00
          American Lawn Company                                               Contingent
          PO BOX 362-123                                                      Unliquidated
          Hoover, AL 35236                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,114.62
          Anytime Plumber                                                     Contingent
          175 W Airport Blvd                                                  Unliquidated
          Pensacola, FL 32505                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,168.00
          Ashland Station, LLC                                                Contingent
          2600 Dauphin Street                                                 Unliquidated
          Mobile, AL 36606                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent [Shrimp Basket Old Shell Road] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $592.65
          AT&T                                                                Contingent
          P. O. Box 105262                                                    Unliquidated
          Alanta, GA 30348                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $267.05
          AT&T                                                                Contingent
          P O Box 105251                                                      Unliquidated
          Atlanta, Ga 30348-5251                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $361.09
          Auburn Water Works Board                                            Contingent
          1501 W Samford Ave                                                  Unliquidated
          Auburn, AL 36832                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Auburn] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,657.70
          Auto Chlor - Hattiesburg                                            Contingent
          193 Country Place Parkway                                           Unliquidated
          Pearl, MS 39208                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,216.83
          Auto Chlor -Tuscaloosa                                              Contingent
          7452 Hwy 45 N                                                       Unliquidated
          Columbus, MS 39705                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Tuscaloosa] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,865.58
          Auto Chlor Services, LLC                                            Contingent
          P O Box 4869                                                        Unliquidated
          Dept 205                                                            Disputed
          Houston, TX 77210-4869
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,468.98
          Axion Communicatons                                                 Contingent
          3201 Corte Malpaso #311                                             Unliquidated
          Camarillo, CA 93012                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Intermediate] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,648.00
          Baldwin Emc                                                         Contingent
          P. O. Box 220                                                       Unliquidated
          Summerdale, AL 36580                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,786.09
          Barry Willingham, ACTA                                              Contingent
          P.O. Box 2220                                                       Unliquidated
          Cullman, AL 35056-2220                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Cullman] [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $174.90
          Bay Area Point of Sales Inc                                         Contingent
          35992 Boykin Blvd                                                   Unliquidated
          Lillian, AL 36549                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $767.39
          Bay Climate Control & Refrigeration LLC                             Contingent
          P O Box 180443                                                      Unliquidated
          Mobile, AL 36618                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Destin] [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,397.25
          Beavers Law, LLC                                                    Contingent
          4301 Dolly Ridge Rd.                                                Unliquidated
           FL 32543                                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,750.00
          Bengal Development, LLC                                             Contingent
          727 Sunset Rd                                                       Unliquidated
          Collins, MS 39428                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent [Shrimp Basket Navarre] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,924.00
          BHT Grease Trap Solutions                                           Contingent
          P O Box 1596                                                        Unliquidated
          Birmingham, AL 35201                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,450.00
          Bill Salter Advertising, Inc.                                       Contingent
          P.O. Box 761                                                        Unliquidated
          Milton, FL 32572                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $82.98
          Birmingham Water Works                                              Contingent
          P.O. Box 830269                                                     Unliquidated
          Birmingham, AL 35283                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $48,805.85
          BKD, LLP                                                            Contingent
          14241 Dallas Parkway, Ste. 1100                                     Unliquidated
          Dallas, TX 75254                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,248.00
          Bon Secour Fisheries                                                Contingent
          P O Box 60                                                          Unliquidated
          Bon Secour, AL 36511                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,700.00
          Brandon Taff                                                        Contingent
          3001 Willow Lane Dr.                                                Unliquidated
          Montgomery, AL 36109                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          BSD Food, Ltd.                                                      Contingent
          3900 Montclair Rd., #310                                            Unliquidated
          Birmingham, AL 35213
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential unpaid rent claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,500.00
          Cardinal Web Solutions                                              Contingent
          P.O. Box 930359                                                     Unliquidated
          Atlanta, GA 31193-0359                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Carol Coplin                                                        Contingent
          12206 Front Beach Rd.                                               Unliquidated
          Panama City Beach, FL 32407
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential unpaid rent claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,500.00
          CBD, Inc                                                            Contingent
          2056 Oak Grove Road                                                 Unliquidated
          Hattiesburg, MS 39402                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent [Shrimp Basket Hattiesburg] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27.95
          CenterPoint Energy, Inc.                                            Contingent
          P O Box 4981                                                        Unliquidated
          Houston, TX 77210                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Ridgeland] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,229.60
          Central Restaurant Products                                         Contingent
          P.O. Box 78070                                                      Unliquidated
          Indianapolis, IN 46278-0070                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Gulf Shores] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $566.48
          Century Link                                                        Contingent
          P O Box 4300                                                        Unliquidated
          Carol Stream, IL 60197-4300                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Foley] [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,085.00
          Certified Hood & Fire Specialists, Inc.                             Contingent
          P.O. Box 1963                                                       Unliquidated
          Foley, AL 36536                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,135.04
          CIMA Engery Solutions LLC                                           Contingent
          P O Box 746225                                                      Unliquidated
          Atlanta, GA 30374-6225                                              Disputed
          Date(s) debt was incurred
                                                                                             Utilities [Shrimp Basket Panama City Beach] [balance
                                                                             Basis for the claim:
          Last 4 digits of account number                                    as of 06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,966.92
          Cintas - Cincinnati Oh                                              Contingent
          P O Box 630910                                                      Unliquidated
          Cincinnati, OH 45263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,584.79
          Cintas - Dallas Tx                                                  Contingent
          P O Box 650838                                                      Unliquidated
          Dallas, TX 75265                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 Debtor       SBIH, LLC                                                                               Case number (if known)
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 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,564.06
          City of Auburn                                                      Contingent
          144 Tichenor Ave., #6                                               Unliquidated
          Auburn, AL 36830                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,636.41
          City of Evergreen                                                   Contingent
          P.O. Box 229                                                        Unliquidated
          Evergreen, AL 36401                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,038.96
          City of Foley                                                       Contingent
          P. O. Box 1750                                                      Unliquidated
          Foley, AL 36536                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Foley] [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $909.88
          City of Fort Walton Beach                                           Contingent
          107 Miracle Strip Pkwy SW,                                          Unliquidated
          Fort Walton Beach, FL 32548                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Ft. Walton] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $165.87
          City of Gulf Breeze                                                 Contingent
          PO Box 640                                                          Unliquidated
          Gulf Breeze, FL 32562                                               Disputed
          Date(s) debt was incurred
                                                                                             Utilities [Shrimp Basket Pensacola Beach] [balance
                                                                             Basis for the claim:
          Last 4 digits of account number                                    as of 06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $185.40
          City of Gulfport Water and Sewer                                    Contingent
          PO Box 123643                                                       Unliquidated
          Dept 3643                                                           Disputed
          Dallas, TX 75312
                                                                             Basis for the claim:    Utilities [Shrimp Basket Gulfport] [balance as of
          Date(s) debt was incurred
                                                                             06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,997.03
          City of Milton-                                                     Contingent
          P. O. Box 909                                                       Unliquidated
          Milton, FL 32572                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Milton] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes


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 Debtor       SBIH, LLC                                                                               Case number (if known)
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 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,344.62
          City of Panama City Beach                                           Contingent
          116 S. Arnold Rd.                                                   Unliquidated
          Panama City Beach, FL 32413                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,205.55
          City of Pensacola                                                   Contingent
          P. O. Box 12910                                                     Unliquidated
          Pensacola, FL 32521                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $333.13
          City of Ridgeland                                                   Contingent
          P O Box 217                                                         Unliquidated
          Ridgeland, Ms 39158-0217                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Ridgeland] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $517.21
          City of Tuscaloosa Water & Sewer Dep                                Contingent
          P O Box 2153                                                        Unliquidated
          Birmingham, AL 35287                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Tuscaloosa] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $126.25
          City Produce                                                        Contingent
          PO Box 1334                                                         Unliquidated
          Fort Walton Beach, FL 32549                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Panama City Beach] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,437.88
          Clarke-Mobile Counties Gas District                                 Contingent
          24831 Canal Road                                                    Unliquidated
          Orange Beach, AL 36561                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Orange Beach] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,400.54
          Cleveland-Menu Printing, Inc.                                       Contingent
          1441 E. 17th St.                                                    Unliquidated
          Cleveland, OH 44114                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,761.55
          Coca Cola - United                                                  Contingent
          P O Box 105637                                                      Unliquidated
          Atlanta, GA 30348-5637                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71.48
          Columbus Water Works                                                Contingent
          P O Box 1600                                                        Unliquidated
          Columbus, GA 31902                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Columbus] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $261.27
          Comcast Business                                                    Contingent
          P O Box 71211                                                       Unliquidated
          Charlotte, NC 28272-1211                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,220.19
          Conditioned Air Solutions LLC                                       Contingent
          200 Dan Tibbs Rd NW                                                 Unliquidated
          Huntsville, AL 35806                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Madison] [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $521.44
          Cornerstone Media                                                   Contingent
          2611 Commerce Blvd.                                                 Unliquidated
          Birmingham, AL 35210                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $375.00
          Costa Verde Landscaping LLC                                         Contingent
          P O Box 19097                                                       Unliquidated
          Panama City Beach, FL 32417                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Panama City Beach] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $37,095.96
          Cottle Properties LLC                                               Contingent
          6003 Veterans Parkway                                               Unliquidated
          Columbus, GA 31909                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent [Shrimp Basket Columbus] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes



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 Debtor       SBIH, LLC                                                                               Case number (if known)
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 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $162.52
          Cox Business - Dallas                                               Contingent
          P O Box 919243                                                      Unliquidated
          Dallas, TX 75391-9243                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,848.89
          Cox Business - Detroit                                              Contingent
          P O Box 771911                                                      Unliquidated
          Detroit, Mi 48277-1911                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,666.45
          CPC - Dallas, TX                                                    Contingent
          P.O. Box 660831                                                     Unliquidated
          Dallas, TX 75266                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,695.00
          CT Corporation                                                      Contingent
          P.O. Box 4349                                                       Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,078.00
          Cullman Power Board                                                 Contingent
          P O Box 1680                                                        Unliquidated
          Cullman, AL 35056-1680                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Cullman] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $590.84
          Cullman-Jefferson Counties Gas District                             Contingent
          P O Box 399                                                         Unliquidated
          Cullman, AL 35056-0399                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Cullman] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,550.00
          Cypress Outdoor Advertising, LLC                                    Contingent
          P.O. Box 15457                                                      Unliquidated
          Hattiesburg, MS 39404                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,397.99
          D&H Investment Properties, LLC                                      Contingent
          110 Moores Road                                                     Unliquidated
          Mandeville, LA 70471                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent [Shrimp Basket Sherwood Forest] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $138.92
          Dana Graham                                                         Contingent
          2403 Bradley Avenue                                                 Unliquidated
          Bay Minette, AL 36507                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Bay Minette] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          Desporte and Sons Seafood, Inc                                      Contingent
          1075 Division Street                                                Unliquidated
          P O Box 704                                                         Disputed
          Biloxi, MS 39533
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $173.73
          Destin Water Users, Inc.                                            Contingent
          P O Box 308                                                         Unliquidated
          Destin, FL 32540                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Destin] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $897.00
          DigiPro Media                                                       Contingent
          214 E. Garden St.                                                   Unliquidated
          Pensacola, FL 32502                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,269.96
          Direct TV                                                           Contingent
          P O Box 105249                                                      Unliquidated
          Alanta, GA 30348                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Intermediate] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $665.00
          Dixie Electric Company Inc                                          Contingent
          580 Trade Center Street                                             Unliquidated
          Montgomery, AL 36108                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Auburn] [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,723.75
          Dixon Screen Printing                                               Contingent
          312 W. Detroit Blvd                                                 Unliquidated
          Pensacola, FL 32534                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,720.00
          Earthworks Pro LLC                                                  Contingent
          130 Woodland Drive                                                  Unliquidated
          Denham Springs, LA 70726                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Baton Rouge] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Edwin J. Spence                                                     Contingent
          P.O. Box 904                                                        Unliquidated
          Gulf Shores, AL 36547
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential unpaid rent claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,582.55
          Emerald Coast Utilities Authority                                   Contingent
          P O Box 17089                                                       Unliquidated
          Pensacola, FL 32522                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ensley Shopping Center, Ltd.                                        Contingent
          120 E. Main St., #A                                                 Unliquidated
          Pensacola, FL 32502
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential unpaid rent claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,689.71
          Evergreen                                                           Contingent
          318 Beverly Parkway                                                 Unliquidated
          Pensacola, FL 32505                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Intermediate] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $150.00
          Evergreen Chamber of Commerce                                       Contingent
          100 Depot Sq.                                                       Unliquidated
          Evergreen, AL 36401                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $158.40
          FastSigns                                                           Contingent
          8350 Florida Blvd Ste A-1                                           Unliquidated
          Baton Rouge, LA 70806                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Homewood] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $115.70
          FDOT - Expressway                                                   Contingent
          P.O. Box 71237                                                      Unliquidated
          Charlotte, NC 28272-1237                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4.50
          FDOT - FL                                                           Contingent
          P.O. Box 310                                                        Unliquidated
          Ocoee, FL 34761                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $38.00
          FDOT - GA                                                           Contingent
          P.O. Box 105477                                                     Unliquidated
          Atlanta, GA 30348                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,979.83
          Federal Service Corp                                                Contingent
          P.O. Box 485                                                        Unliquidated
          Bay Minette, AL 36507                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Intermediate] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $423.72
          FedEx                                                               Contingent
          P.O. Box 660481                                                     Unliquidated
          Dallas, TX 75266-0481                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,514.29
          Fineline Contractors Inc                                            Contingent
          139 Creekwater Street                                               Unliquidated
          Helena, AL 35080                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,117.16
          Five R Investments, LLC                                             Contingent
          151 W. Main St., #200                                               Unliquidated
          Pensacola, FL 32502                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,342.25
          Fortune Gulf States LLC                                             Contingent
          13050 N Wintzell Ave                                                Unliquidated
          BAYOU LABATRE, AL 36509                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $199.00
          Fred Pryor                                                          Contingent
          P.O. Box 219468                                                     Unliquidated
          Kansas City, MO 64121-9468                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $630.00
          Fremin's Contractor Services, LLC                                   Contingent
          1401 Schillinger Road North                                         Unliquidated
          Semmes, AL 36575                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Tillman's Corner] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $780.00
          Frozen Drink Machines                                               Contingent
          P O Box 1272,                                                       Unliquidated
          Gulf Shores, AL 36547                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          FRZ, LLC                                                            Contingent
          3146 Green Valley Rd.                                               Unliquidated
          Vestavia, AL 35243
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential unpaid rent claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,460.55
          Fultondale Gas Department                                           Contingent
          P O Box 609                                                         Unliquidated
          Fultondale, AL 35068                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Gardendale] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $142.00
          Gabriel Fire & Security Inc dba Gulftec                             Contingent
          3120 N Davis Hwy                                                    Unliquidated
          Pensacola, FL 32503                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Old Shell Road] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,745.09
          Gabriel Fire & Security OLD                                         Contingent
          P.O. Box 10365                                                      Unliquidated
          Pensacola, FL 32524-0365                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,531.39
          Gardendale Plaza II, LLC                                            Contingent
          1200 Beacon Parkway East, Suite #706                                Unliquidated
          Birmingham, AL 35209                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent [Shrimp Basket Gardendale] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $94.99
          Gasket Guy                                                          Contingent
          9020 Krystal Ridge Ct.                                              Unliquidated
          Daphne, AL 36526                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,180.86
          Gatehouse Media                                                     Contingent
          P.O. Box 102801                                                     Unliquidated
          Atlanta, GA 30368-2801                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,200.00
          Gecko Hospitality                                                   Contingent
          Dept. 4542                                                          Unliquidated
          Carol Stream, IL 60122-4542                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,805.89
          George W. Barber Jr.                                                Contingent
          27 Inverness Center Parkway                                         Unliquidated
          Birmingham, AL 35242                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent [Shrimp Basket Irondale] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes



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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,053.00
          Gilmore Services                                                    Contingent
          31 E. Fairfield Dr.                                                 Unliquidated
          Pensacola, FL 32501                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $200.60
          Goldring Gulf Distributing                                          Contingent
          8245 Opportunity Dr.                                                Unliquidated
          Milton, FL 32583                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fintech [Shrimp Basket Destin] [balance as of
          Last 4 digits of account number                                    04/21/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $166.80
          Goldring Gulf Distributing                                          Contingent
          8245 Opportunity Dr.                                                Unliquidated
          Milton, FL 32583                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fintech [Shrimp Basket Navarre] [balance as of
          Last 4 digits of account number                                    04/21/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $322.00
          Goldring Gulf Distributing                                          Contingent
          8245 Opportunity Dr.                                                Unliquidated
          Milton, FL 32583                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fintech [Shrimp Basket Nine Mile] [balance as of
          Last 4 digits of account number                                    04/21/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $405.40
          Goldring Gulf Distributing                                          Contingent
          8245 Opportunity Dr.                                                Unliquidated
          Milton, FL 32583                                                    Disputed
          Date(s) debt was incurred
                                                                                             Fintech [Shrimp Basket Panama City Beach] [balance
                                                                             Basis for the claim:
          Last 4 digits of account number                                    as of 04/21/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $538.20
          Goldring Gulf Distributing                                          Contingent
          8245 Opportunity Dr.                                                Unliquidated
          Milton, FL 32583                                                    Disputed
          Date(s) debt was incurred
                                                                                             Fintech [Shrimp Basket Pensacola Beach] [balance
                                                                             Basis for the claim:
          Last 4 digits of account number                                    as of 04/21/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $555.20
          Goldring Gulf Distributing                                          Contingent
          8245 Opportunity Dr.                                                Unliquidated
          Milton, FL 32583                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fintech [Shrimp Basket Perdido Key] [balance as of
          Last 4 digits of account number                                    04/21/2020]
                                                                             Is the claim subject to offset?    No  Yes

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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $589.20
          Goldring Gulf Distributing                                          Contingent
          8245 Opportunity Dr.                                                Unliquidated
          Milton, FL 32583                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fintech [Shrimp Basket Warrington] [balance as of
          Last 4 digits of account number                                    04/21/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.99
          Gulf Coast Gasket Guy                                               Contingent
          9020 Krystal Ridge Ct.                                              Unliquidated
          Daphne, AL 36526                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $130.50
          Gulf Coast Produce                                                  Contingent
          410 E. Section Ave.                                                 Unliquidated
          Foley, AL 36535                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,817.10
          Gulf Power Company                                                  Contingent
          P.O. Box 29090                                                      Unliquidated
          Miami, FL 33102-9090                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $481.74
          Gulf Shores Utilities                                               Contingent
          P.O. Box 1229                                                       Unliquidated
          Gulf Shores, AL 36547-1229                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Gulf Shores] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,412.55
          Gulftech Fire & Security                                            Contingent
          P.O. Box 10365                                                      Unliquidated
          Pensacola, FL 32524                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,578.52
          Gulftech Fire & Security .                                          Contingent
          P.O. Box 1020                                                       Unliquidated
          Defuniak Springs, FL 32435                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Panama City Beach] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes



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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $980.00
          Harvest/Monrovia Lawn Care                                          Contingent
          266 Nick Davis Rd                                                   Unliquidated
          Madison, AL 35757                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Madison] [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $203.84
          Hobart Sales & Service                                              Contingent
          10850 Hwy 72                                                        Unliquidated
          Rogersville, AL 35652                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Ridgeland] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $328.21
          Holley Navarre Water System                                         Contingent
          P O Box 6539                                                        Unliquidated
          Navarre, FL 32566                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Navarre] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $466.12
          HRDirect                                                            Contingent
          P.O. Box 669390                                                     Unliquidated
          Pompano Beach, FL 33066-9390                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,096.09
          Huntsville Utilities                                                Contingent
          ATTN: Commercial                                                    Unliquidated
          112 Spragins Street SW                                              Disputed
          Huntsville, AL 35801
                                                                             Basis for the claim:    Utilities [Shrimp Basket Madison] [balance as of
          Date(s) debt was incurred
                                                                             06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,494.56
          IHS Services Inc                                                    Contingent
          2603 Highland Ave                                                   Unliquidated
          Montgomery, AL 36107                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,061.56
          Information Transport Solutions, Inc                                Contingent
          335 Jeanette Barrett Industrial Blvd                                Unliquidated
          Wetumpka, AL 36092                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Cullman] [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,014.89
          Intermark Group, Inc.                                               Contingent
          101 25th St. N                                                      Unliquidated
          Birmingham, AL 35203                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ivory J. Jones                                                      Contingent
          2406 Kansas St.
          Baton Rouge, LA 70802
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    EEOC charge of discrimination [Shrimp Basket Baton
                                                                             Rouge]
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $46,862.52
          Jackson Lewis PC                                                    Contingent
          P.O. Box 416019                                                     Unliquidated
          Boston, MA 02241-6019                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,866.50
          JAMES B. PITTMAN JR PC                                              Contingent
          P O Box 2525                                                        Unliquidated
          Daphne, AL 36526                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Cullman] [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,459.89
          JMC Properties, LLC                                                 Contingent
          P.O. Box 70                                                         Unliquidated
          Douglasville, GA 30133                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent [Shrimp Basket Ft. Walton] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,707.67
          JMF Solutions Inc                                                   Contingent
          P O BOX 222                                                         Unliquidated
          Monroe, AL 36559                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Old Shell Road] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $150.00
          Joey Hostilo                                                        Contingent
          5311 Oxford Dr                                                      Unliquidated
          Columbus, GA 31904                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Columbus] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes


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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,422.00
          John Michael Plumbing LLC                                           Contingent
          3004 Old Big Cove Road                                              Unliquidated
          Owens Cross Roads, AL 35763                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Madison] [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,115.50
          Kesco                                                               Contingent
          1600 W Main St                                                      Unliquidated
          Pensacola, FL 32502                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,252.00
          Lamar Advertising                                                   Contingent
          P.O. Box 96030                                                      Unliquidated
          Baton Rouge, LA 70896                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $672.11
          Lawns by Tre LLC                                                    Contingent
          10596 Steeplechase DR                                               Unliquidated
          Gulfport, MS 39503                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Gulfport] [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $603.54
          Lewis Critter Gitter Pest Control Inc.                              Contingent
          7050 W. Fairfield Dr.                                               Unliquidated
          Pensacola, FL 32506                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Florida locations [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,632.00
          Lewis Critter Gitter Pest Control of Flo                            Contingent
          P O Box 850                                                         Unliquidated
          Elberta, AL 32504-6252                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Alabama locations [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $272.17
          Liberty Utilities                                                   Contingent
          75 Remittance Drive, Suite 1918                                     Unliquidated
          Chicago, IL 60675                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Columbus] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,200.00
          Marc B. Morris                                                      Contingent
          4655 Christy Drive                                                  Unliquidated
          Pensacola, FL 32504                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Perdido Key] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $325.00
          Marvin Hillard                                                      Contingent
          P O Box 54322                                                       Unliquidated
          Pearl, MS 39288                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Ridgeland] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          McAdam Properties, LLC                                              Contingent
          151 Industrial Dr.                                                  Unliquidated
          Birmingham, AL 35211
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential unpaid rent claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,042.95
          McLemore Electric, Inc.                                             Contingent
          P. O. Box 9625                                                      Unliquidated
          Pensacola, FL 32513                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,101.98
          Mediacom - NC71219                                                  Contingent
          P O Box 71219                                                       Unliquidated
          Charlotte, NC 28272-1219                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $291.48
          Mediacom - NC71222                                                  Contingent
          P O Box 71222                                                       Unliquidated
          Charlotte, NC 28272-1222                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Columbus] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $255.00
          Mid-Coast Lawn Management Inc                                       Contingent
          PO Box 6882                                                         Unliquidated
          Miramar Beach, FL 32550                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Ft. Walton] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes


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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,536.88
          Mississippi Power                                                   Contingent
          P O Box 245,                                                        Unliquidated
          Birmingham, AL 35201                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $635.89
          Mist Works                                                          Contingent
          2751 Avalon Blvd.                                                   Unliquidated
          Milton, FL 32583                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $471.86
          Mobile Area Water & Sewer System                                    Contingent
          P O Box 830130                                                      Unliquidated
          Birmingham, AL 35283-0130                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Old Shell Road] [balance as
          Last 4 digits of account number                                    of 06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26.03
          Mobile Fixtures & Equipment                                         Contingent
          1155 Montlimar Dr.                                                  Unliquidated
          Mobile, AL 36609                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,671.47
          Montgomery Water Works & Sewer                                      Contingent
          P.O. Box 1670                                                       Unliquidated
          Montgomery, AL 36102                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,999.62
          Mood Media N America Holdings Corp.                                 Contingent
          P.O. Box 71070                                                      Unliquidated
          Charlotte, NC 28272                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,650.00
          Nix Landscape & Maintenance Inc                                     Contingent
          P.O. Box 7531                                                       Unliquidated
          Gulf Shores, AL 36547                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $681.65
          North Alabama Gas                                                   Contingent
          P.O. Box 1428                                                       Unliquidated
          Madison, AL 35758                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,414.41
          North Baldwin Utilities                                             Contingent
          25 Hand Ave                                                         Unliquidated
          Bay Minette, AL 36507                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Bay Minette] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $342.45
          Okaloosa Gas District                                               Contingent
          P O Box 548                                                         Unliquidated
          Valparaiso, FL 32580                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,014.23
          On The Rocks LLC dba Joe T's Wine & Spir                            Contingent
          286 Hwy 51                                                          Unliquidated
          Ridgeland, MS 39157                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Ridgeland] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,536.17
          Orange Beach Water Authority                                        Contingent
          P. O. Box 247                                                       Unliquidated
          Orange Beach, AL 36561                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Orange Beach] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,750.00
          P & M Investment Company                                            Contingent
          2 Buckland Abbey                                                    Unliquidated
          Nashville, TN 37215                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent [Shrimp Basket Madison] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $345.00
          Panhandle Pride Landscaping                                         Contingent
          633 Sandalwood Drive.                                               Unliquidated
          Destin, FL 32541                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $595.62
          Parker's Landscape Service LLC                                      Contingent
          P.O. Box 17361                                                      Unliquidated
          Hattiesburg, MS 39404                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Hattiesburg] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          PC Properties 741, LLC                                              Contingent
          c/o Kalo Properties II, LLC
          1114 Thomasville Rd., #Q
                                                                              Unliquidated
          Tallahassee, FL 32303                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Potential claim for unpaid rent [Shrimp Basket
          Last 4 digits of account number                                    Panama City]
                                                                             Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $785.97
          Pensacola News Journal                                              Contingent
          P.O. Box 677590                                                     Unliquidated
          Dallas, TX 75267                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $46.16
          Peoples Water Service of Fl Inc                                     Contingent
          PO Box 4815                                                         Unliquidated
          Pensacola, FL 32507                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Warrington] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,000.00
          Phillippou Brothers Inc                                             Contingent
          2224 North University Street                                        Unliquidated
          Visalia, CA 93291                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Montgomery] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $215.63
          Pitney Bowes Global Financial                                       Contingent
          P.O. Box 371887                                                     Unliquidated
          Pittsburgh, PA 15250                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Plaintiff Groves
          c/o H. Alison Burns, Esq.                                           Contingent
          ADA Group, LLC                                                      Unliquidated
          P.O. Box 231477                                                     Disputed
          Montgomery, AL 36123
                                                                             Basis for the claim:    ADA complaint [Shrimp Basket Old Shell Road]
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $174.00
          Polar Bear Services, LLC                                            Contingent
          2126 Lakeview Trace                                                 Unliquidated
          Trussville, AL 35173                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,179.82
          Professional Refrigeration & Maintenance                            Contingent
          2105 Greenslope Trail NE                                            Unliquidated
          Huntsville, AL 35811                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,227.11
          Purchase Power                                                      Contingent
          P.O. Box 371874                                                     Unliquidated
          Pittsburgh, PA 15250                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,505.00
          R.E. Moore Construction Inc                                         Contingent
          1817 Blue Granite Ct                                                Unliquidated
          Marietta, GA 30066                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ray L. Crowell, Wanda Lundy, William
           Rouse and E.G. Warren, Jr.                                         Contingent
          d/b/a Highway 49 Venture                                            Unliquidated
          9034 Carl Legett Rd.                                                Disputed
          Gulfport, MS 39503
                                                                             Basis for the claim:    Potential unpaid rent claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,948.80
          REDI-TO-SERV                                                        Contingent
          P O Box 2709                                                        Unliquidated
          Huntsville, AL 35804                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Coke [Shrimp Basket Madison] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $60,105.22
          Restaurant Technologies, Inc                                        Contingent
          12962 Collections Center Drive                                      Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,784.42
          Restaurant365                                                       Contingent
          500 Technology Dr., #2                                              Unliquidated
          Irvine, CA 92618                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,576.10
          Riviera Utilities                                                   Contingent
          Payment Processing Center                                           Unliquidated
          P O Box 580052                                                      Disputed
          Charlotte, NC 28258-0052
                                                                             Basis for the claim:    Utilities [Shrimp Basket Foley] [balance as of
          Date(s) debt was incurred
                                                                             04/21/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,491.06
          Riviera Utilities                                                   Contingent
          Payment Processing Center                                           Unliquidated
          P O Box 580052                                                      Disputed
          Charlotte, NC 28258-0052
                                                                             Basis for the claim:    Utilities [Shrimp Basket Gulf Shores] [balance as of
          Date(s) debt was incurred
                                                                             06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $675.70
          Roto Rooter (GP Location)                                           Contingent
          P O Box 3498                                                        Unliquidated
          Gulfport, MS 39505                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Gulfport] [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $233.20
          Roto Rooter - Lynn Haven                                            Contingent
          2990 Minnesota Ave.                                                 Unliquidated
          Lynn Haven, FL 32444                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,925.02
          RSM US, LLP                                                         Contingent
          100 International Dr., #14                                          Unliquidated
          Baltimore, MD 21202                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $188.07
          SafeGuard Corporation                                               Contingent
          39610 US Highway 280                                                Unliquidated
          Sylacauga, AL 35150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Irondale] [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,388.64
          SB Ridgeland LLC                                                    Contingent
          30530 Middle Creek Circle                                           Unliquidated
          Spanish Fort, AL 36527                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent [Shrimp Basket Ridgeland] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $855.68
          Sewer & Water Utility Bill                                          Contingent
          P.O. Box 830269,                                                    Unliquidated
          Birmingham, AL 35283                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,507.27
          Shoes for Crews LLC                                                 Contingent
          P O Box 734176                                                      Unliquidated
          Chicago, IL 60673-4176                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Snapper Leasing, LLC                                                Contingent
          P.O. Box 904                                                        Unliquidated
          Orange Beach, AL 36561
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential unpaid rent claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,700.00
          SoftTouch, LLC                                                      Contingent
          45 Old Solomons Island Rd., #102                                    Unliquidated
          Annapolis, MD 21401                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Soundside Market, LLC                                               Contingent
          Baybridge Professional Park, #113                                   Unliquidated
          Attn: Julian B. MacQueen
                                                                              Disputed
          Gulf Breeze, FL 32561
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential unpaid rent claim
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $839.99
          South Alabama Gas                                                   Contingent
          714 West Front Street                                               Unliquidated
          Evergreen, AL 36401                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Evergreen] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $470.00
          South Baldwin Chamber of Commerce                                   Contingent
          P.O. Box 1117                                                       Unliquidated
          Foley, AL 36536                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $504.86
          Spectrum Business                                                   Contingent
          P O Box 742614                                                      Unliquidated
          Cincinnati, Oh 45274-2614                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Auburn] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $632.24
          Spire                                                               Contingent
          PO BOX 2224                                                         Unliquidated
          Birmingham, AL 35246-0022                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17.90
          Spire - Ms                                                          Contingent
          P O Box 93229                                                       Unliquidated
          Atlanta, Ga 31193-2299                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Hattiesburg] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $400.00
          Stewart's Electrical Contractors Inc                                Contingent
          40680 State Hwy 59                                                  Unliquidated
          Bay Minette, AL 36507                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Bay Minette] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,008.00
          Sun Herald Advertising                                              Contingent
          P.O. Box 51219                                                      Unliquidated
          Livonia, MI 48151                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $722,340.10
          SYSCO GULF COAST INC.                                               Contingent
          2001 West Magnolia Ave                                              Unliquidated
          Genevia, AL 36340                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 35 of 39
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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $358.91
          TECO Peoples Gas                                                    Contingent
          P O Box 31318                                                       Unliquidated
          Tampa, FL 33631-3318                                                Disputed
          Date(s) debt was incurred
                                                                                             Utilities [Shrimp Basket Panama City Beach] [balance
                                                                             Basis for the claim:
          Last 4 digits of account number                                    as of 06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $175.00
          The Groundskeeper Lawn Maintenance, Inc.                            Contingent
          2451 Semur Rd.                                                      Unliquidated
          Pensacola, FL 32503                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $630.00
          The Yard Works of West Alabama                                      Contingent
          3203 Pin Oak Dr,                                                    Unliquidated
          Tuscaloosa, AL 35405                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Tuscaloosa] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $350.00
          Thornton's Lawn Care LLC                                            Contingent
          P O Box 311                                                         Unliquidated
          Vinemont, AL 35179                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Cullman] [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,750.00
          Tiger WM, LLC                                                       Contingent
          1695 East University Drive                                          Unliquidated
          Auburn, AL 36830                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent [Shrimp Basket Auburn] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,810.37
          Tillman's Corner Partners, LP                                       Contingent
          P O Box 235021                                                      Unliquidated
          Montgomery, AL 36123                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent [Shrimp Basket Tillman's Corner] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,453.10
          TSI                                                                 Contingent
          P.O. Box 2422,                                                      Unliquidated
          Orange Beach, AL 36561                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Orange Beach] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 36 of 39
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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,513.91
          TSSAF Properties, LLC                                               Contingent
          P.O. BOX 77130                                                      Unliquidated
          Baton Rouge, LA 70879                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent [Shrimp Basket Baton Rouge] [balance as of
          Last 4 digits of account number                                    06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $44,928.12
          TWC Inc                                                             Contingent
          P O Box 1612                                                        Unliquidated
          Des Moines, IA 50306-1612                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,230.00
          UL, LLC                                                             Contingent
          333 Pfingsten Road                                                  Unliquidated
          Northbrook, IL 60062                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Cullman] [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.72
          Verizon Wireless                                                    Contingent
          P.O. Box 660108                                                     Unliquidated
          Dallas, TX 75266                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,800.00
          Warren Averett, LLC                                                 Contingent
          2500 Action Rd.                                                     Unliquidated
          Birmingham, AL 35243                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,871.19
          Waste Management                                                    Contingent
          P O Box 55558                                                       Unliquidated
          Boston, MA 02205-5558                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $852.14
          Waste Pro - Gauiter                                                 Contingent
          PO Box 865289,                                                      Unliquidated
          Orlando, FL 32886                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    [Shrimp Basket Gulfport] [balance as of 06/16/2020]
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       SBIH, LLC                                                                               Case number (if known)
              Name

 3.214     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $742.84
           Waste Pro - Molbie                                                 Contingent
           P O Box 865261                                                     Unliquidated
           Orlando, FL 32886-5261                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Milton] [balance as of
           Last 4 digits of account number                                   06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes
 3.215     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,970.00
           Webb's Seafood Inc                                                 Contingent
           12603 Highway 231                                                  Unliquidated
           Youngstown, FL 32466                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $804.35
           Whaley Foodservice                                                 Contingent
           P.O. Box 615                                                       Unliquidated
           Lexington, SC 29071                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    [balance as of 06/16/2020]
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Wheels Up, Inc.                                                    Contingent
           P.O. Box 904                                                       Unliquidated
           Gulf Shores, AL 36547
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Potential unpaid rent claims
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.218     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $270.16
           WOW Business                                                       Contingent
           P O Box 70999                                                      Unliquidated
           Charlotte, NC 28272-0999                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities [Shrimp Basket Madison] [balance as of
           Last 4 digits of account number                                   06/16/2020]
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       John M. O'Neil III
           8500 Fowler Ave.                                                                           Line     3.186
           Pensacola, FL 32534
                                                                                                            Not listed. Explain

 4.2       Philippou Brothers, Inc.
           236 Charleston Ct. S                                                                       Line     3.169
           Montgomery, AL 36117
                                                                                                            Not listed. Explain




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 Debtor       SBIH, LLC                                                                           Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                 related creditor (if any) listed?            account number, if
                                                                                                                                              any
 4.3       Tiger-WM, LLC
           c/o Redd Realty Services                                                              Line      3.204
           4200 Northside Pkwy.
           Bldg. 10, #101                                                                              Not listed. Explain

           Atlanta, GA 30327-3080

 4.4       Tillman's Corner Partners, LP
           c/o Aronov Realty Management, Inc.                                                    Line      3.205
           P.O. Box 23500
           Attn: Legal Dept.                                                                           Not listed. Explain

           Montgomery, AL 36123-5000

 4.5       TSSAF, LLC
           4225 Perkins Rd.                                                                      Line      3.207
           Baton Rouge, LA 70808
                                                                                                       Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.        $                     10,733.49
 5b. Total claims from Part 2                                                                        5b.    +   $                  2,006,449.89
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.        $                    2,017,183.38




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 Fill in this information to identify the case:

 Debtor name         SBIH, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal              Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   Commercial lease
             lease is for and the nature of               agreement for property
             the debtor's interest                        located at 2540 Old
                                                          Shell Road, Mobile,
                                                          Alabama 36608 [Shrimp
                                                          Basket Old Shell Road]
                  State the term remaining
                                                                                      Ashland Station, LLC
              List the contract number of any                                         3601 Spring Hill Business Park, #200
                    government contract                                               Mobile, AL 36608


 2.2.        State what the contract or                   Commercial lease
             lease is for and the nature of               agreement for property
             the debtor's interest                        located at 6154 U.S.
                                                          Highway 49,
                                                          Hattiesburg,
                                                          Mississippi 39401
                                                          [Shrimp Basket
                                                          Hattiesburg]
                  State the term remaining
                                                                                      CBD, Inc.
              List the contract number of any                                         208 S. 28th Ave.
                    government contract                                               Hattiesburg, MS 39401


 2.3.        State what the contract or                   Commercial lease
             lease is for and the nature of               agreement for property
             the debtor's interest                        located at 6073
                                                          Veterans Parkway,
                                                          Columbus, Georgia
                                                          [Shrimp Basket
                                                          Columbus]
                  State the term remaining                                            Cottle Properties, LLC
                                                                                      P.O. Box 8545
              List the contract number of any                                         Attn: Ron Cottle, Jr.
                    government contract                                               Columbus, GA 31908




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 3
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 Debtor 1 SBIH, LLC                                                                             Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.4.        State what the contract or                   Commercial lease
             lease is for and the nature of               agreement for property
             the debtor's interest                        located at 7756
                                                          Crestwood Boulevard,
                                                          Birmingham, Alabama
                                                          35210 [Shrimp Basket
                                                          Irondale]
                  State the term remaining
                                                                                        George W. Barber, Jr.
             List the contract number of any                                            27 Inverness Center Pkwy.
                   government contract                                                  Birmingham, AL 35242


 2.5.        State what the contract or                   Commercial lease
             lease is for and the nature of               agreement for property
             the debtor's interest                        located at 836 County
                                                          Line Road, Ridgeland,
                                                          Mississippi [Shrimp
                                                          Basket Ridgeland]
                  State the term remaining
                                                                                        John M. O'Neill III
             List the contract number of any                                            8500 Fowler
                   government contract                                                  Pensacola, FL 32534


 2.6.        State what the contract or                   Commercial lease
             lease is for and the nature of               agreement for property
             the debtor's interest                        located at 7900 Vaughn
                                                          Road, Montgomery,
                                                          Alabama 36116 [Shrimp
                                                          Basket Montgomery]
                  State the term remaining
                                                                                        Philippou Brothers, Inc.
             List the contract number of any                                            236 Charleston Ct. S
                   government contract                                                  Montgomery, AL 36117


 2.7.        State what the contract or                   Postage machine lease
             lease is for and the nature of               agreement
             the debtor's interest

                  State the term remaining
                                                                                        Pitney Bowes Global Financial
             List the contract number of any                                            P.O. Box 371887
                   government contract                                                  Pittsburgh, PA 15250


 2.8.        State what the contract or                   Commercial lease
             lease is for and the nature of               agreement for property
             the debtor's interest                        located at 5405 W.
                                                          Highway 90, Mobile,
                                                          Alabama 36619 [Shrimp
                                                          Basket Tillman's              Tillman's Corner Partners, LP
                                                          Corner]                       c/o Aronov Realty Management, Inc.
                  State the term remaining                                              P.O. Box 235000
                                                                                        Attn: Legal Department
             List the contract number of any                                            Montgomery, AL 36123-5000
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 2 of 3
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 Debtor 1 SBIH, LLC                                                                             Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                    government contract


 2.9.        State what the contract or                   Commercial lease
             lease is for and the nature of               agreement for property
             the debtor's interest                        located at 560 Mary
                                                          Esther Cutoff, NW, Ft.
                                                          Walton Beach, Florida
                                                          32548 [Shrimp Basket
                                                          Ft. Walton]
                  State the term remaining
                                                                                        Wheels Up, Inc.
             List the contract number of any                                            P.O. Box 904
                   government contract                                                  Gulf Shores, AL 36547




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         SBIH, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:

    2.1      SB FSD, LLC                       c/o G2 Capital Advisors, LLC                      Shrimp Basket                  D        2.3
                                               420 Boylston St., #302                            Restaurants, LLC                E/F
                                               Boston, MA 02116
                                                                                                                                G




    2.2      SBBC Shell, LLC                   c/o G2 Capital Advisors, LLC                      M2 Lease Funds, LLC            D        2.2
                                               420 Boylston St., #302                                                            E/F
                                               Boston, MA 02116
                                                                                                                                G




    2.3      SBBC Shell, LLC                   c/o G2 Capital Advisors, LLC                      Hitachi Capital                D        2.1
                                               420 Boylston St., #302                            America Corp.                   E/F
                                               Boston, MA 02116
                                                                                                                                G




    2.4      SBBC Shell, LLC                   c/o G2 Capital Advisors, LLC                      Shrimp Basket                  D        2.3
                                               420 Boylston St., #302                            Restaurants, LLC                E/F
                                               Boston, MA 02116
                                                                                                                                G




Official Form 206H                                                           Schedule H: Your Codebtors                                      Page 1 of 2
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 Debtor       SBIH, LLC                                                                     Case number (if known)



            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.5      SBNH, LLC                         c/o G2 Capital Advisors, LLC                      Shrimp Basket         D       2.3
                                               420 Boylston St., #302                            Restaurants, LLC       E/F
                                               Boston, MA 02116
                                                                                                                       G




    2.6      Shrimp Basket                     7282 Plantation Rd., #301                         M2 Lease Funds, LLC   D       2.2
             Holdings, LLC                     Pensacola, FL 32504                                                      E/F
                                                                                                                       G




Official Form 206H                                                           Schedule H: Your Codebtors                            Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         SBIH, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                          Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                             $12,885,365.00
       From 1/01/2020 to Filing Date
                                                                                                Other      Gross Receipts


       For prior year:                                                                          Operating a business                             $47,332,283.00
       From 1/01/2019 to 12/31/2019
                                                                                                Other      Gross Receipts


       For year before that:                                                                    Operating a business                             $47,244,872.00
       From 1/01/2018 to 12/31/2018
                                                                                                Other      Gross Receipts

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See attached check register.                                                                        $0.00          Secured debt
                                                                                                                                  Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Wheels Up Inc.                                              Various                         $718,879.02           Monthly rent payments
               P O Box 904,
               Gulf Shores, AL 36547
               Affiliated entity

       4.2.    Snapper Leasing, LLC                                        Various                         $200,291.48           Monthly rent payments
               P.O. Box 904
               Orange Beach, AL 36561
               Affiliated entity

       4.3.    Edwin J. Spence                                             Various                         $152,331.60           Monthly rent payments
               P.O. Box 904
               Gulf Shores, AL 36547
               Shareholder of parent company

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address

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8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions                  Dates given                    Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss     Value of property
       how the loss occurred                                                                                                                               lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates           Total amount or
                the transfer?                                                                                                                           value
                Address
       11.1.    Thames Markey & Heekin, PA                                                                                     05/06/2020 -
                50 North Laura Street                                                                                          $35,000.00
                Suite 1600                                                                                                     05/21/2020 -
                Jacksonville, FL 32202                               Attorney Fees                                             $10,000.00          $45,000.00

                Email or website address
                abd@tmhlaw.net

                Who made the payment, if not debtor?
                SBIH, LLC d/b/a Shrimp Basket
                Corp




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                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.2.                                                         G2 Capital Advisors has been working
                G2 Capital Advisors                                  with the debtor entities in their
                Jeffrey T. Varsalone                                 restructuring / wind down efforts since
                420 Boylston St., #302                               April 1, 2020, when Jeffrey T. Varsalone
                Boston, MA 02116                                     was named Chief Restructuring Officer.                    Various             $371,700.00

                Email or website address
                www.g2capitaladvisors.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                            Description of property transferred or                  Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange             was made                        value
       13.1 Shrimp Basket Restaurants,
       .    LLC
               201 N. New York Ave., #200                        Sale of assets pursuant to an Asset
               Winter Park, FL 32789                             Purchase Agreement dated 06/16/2020                     06/16/2020             $2,300,000.00

               Relationship to debtor



       13.2                                                      Debtor has surrendered all alcohol
       .                                                         licenses for each location not acquired in
               Various regulatory agencies                       the 06/16/2020 APA to the appropriate
                                                                 regulatory agencies                                     Various                      Unknown

               Relationship to debtor




 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To




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                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To
       14.1.    Corporate Offices                                                                                          Until 06/16/2020
                7282 Plantation Rd., #301
                Pensacola, FL 32504

       14.2.    Shrimp Basket Auburn
                1651 S. College St.
                Auburn, AL 36830

       14.3.    Shrimp Basket Baton Rouge
                4343 Sherwood Forest Blvd., Unit D
                Baton Rouge, LA 70816

       14.4.    Shrimp Basket Baton Rouge
                7242 Perkins Road
                Baton Rouge, LA 70808

       14.5.    Shrimp Basket Bay Minette
                1111 Highway 31 South
                Bay Minette, AL 36507

       14.6.    Shrimp Basket Columbus
                6073 Veterans Parkway
                Columbus, GA 31909

       14.7.    Shrimp Basket Cullman
                716 2nd Avenue NW
                Cullman, AL 35055

       14.8.    Shrimp Basket Destin
                711 US 98
                Destin, FL 32541

       14.9.    Shrimp Basket Evergreen
                64 Liberty Park Pl.
                Evergreen, AL 36401

       14.10 Shrimp Basket Foley
       .     1500 South McKenzie Street
                Foley, AL 36535

       14.11 Shrimp Basket Ft. Walton
       .     560 Mary Esther Cutoff NW
                Fort Walton Beach, FL 32548

       14.12 Shrimp Basket Gardendale
       .     The Plaza II
                Gardendale, AL 35071

       14.13 Shrimp Basket Gulf Shores
       .     Unit 31 and 32, Highway 59
                Gulf Shores, AL 36542

       14.14 Shrimp Basket Gulfport
       .     9265 U.S. Highway 49
                Gulfport, MS 39503

       14.15 Shrimp Basket Hattiesburg
       .     6154 U.S. Highway 49
                Hattiesburg, MS 39401


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                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To
       14.16 Shrimp Basket Homewood
       .     801 Green Springs Highway
                Birmingham, AL 35209

       14.17 Shrimp Basket Irondale
       .     7756 Crestwood Boulevard
                Birmingham, AL 35210

       14.18 Shrimp Basket Madison
       .     7814 Highway 72 W
                Madison, AL 35758

       14.19 Shrimp Basket Milton
       .     6389 Highway 90
                Milton, FL 32570

       14.20 Shrimp Basket Montgomery
       .     7900 Vaughn Road
                Montgomery, AL 36116

       14.21 Shrimp Basket Navarre
       .     8900 Navarre Parkway
                Navarre, FL 32566

       14.22 Shrimp Basket Navy
       .     6501 North Davis Highway
                Pensacola, FL 32504

       14.23 Shrimp Basket Nine Mile
       .     60 W. Nine Mile Road
                Pensacola, FL 32534

       14.24 Shrimp Basket Old Shell Road
       .     2540 Old Shell Road
                Mobile, AL 36608

       14.25 Shrimp Basket Orange Beach
       .     26650 Perdido Beach Blvd.
                Units E and F
                Orange Beach, AL 36561

       14.26 Shrimp Basket Panama City
       .     741 W. 23rd Street
                Panama City, FL 32405

       14.27 Shrimp Basket Panama City Beach
       .     12390 Front Beach Road
                Panama City Beach, FL 32407

       14.28 Shrimp Basket Pensacola Beach
       .     5 Via de Luna Drive
                Gulf Breeze, FL 32561

       14.29 Shrimp Basket Perdido Key
       .     14600 Perdido Key Drive
                Pensacola, FL 32507

       14.30 Shrimp Basket Ridgeland
       .     836 E. County Line Road
                Ridgeland, MS 39157

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                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To
       14.31 Shrimp Basket Sherwood
       .     4343 Sherwood Forest Boulevard
                Baton Rouge, LA 70816

       14.32 Shrimp Basket Tillman's Corner
       .     5405 W. Highway 90
                Mobile, AL 36619

       14.33 Shrimp Basket Tuscaloosa
       .     3249 McFarland Boulevard E
                Tuscaloosa, AL 35405

       14.34 Shrimp Basket Warrington
       .     709 North Navy Boulevard
                Pensacola, FL 32507

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services          If debtor provides meals
                                                                 the debtor provides                                                   and housing, number of
                                                                                                                                       patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was              Last balance
                Address                                          account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred




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                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was       Last balance
                Address                                          account number           instrument                  closed, sold,      before closing or
                                                                                                                      moved, or                   transfer
                                                                                                                      transferred
       18.1.    Regions Bank                                     XXXX-4837                 Checking                  06/2020 - Shrimp                $0.00
                                                                                           Savings                   Basket Auburn,
                                                                                                                      LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.2.    Regions Bank                                     XXXX-4861                 Checking                  06/2020 - Shrimp                $0.00
                                                                                           Savings                   Basket Bay
                                                                                                                      Minette, LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.3.    Regions Bank                                     XXXX-5132                 Checking                  06/2020 - Shrimp                $0.00
                                                                                           Savings                   Basket
                                                                                                                      Columbus, LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.4.    Regions Bank                                     XXXX-3228                 Checking                  06/2020 - Shrimp                $0.00
                                                                                           Savings                   Basket Cullman,
                                                                                                                      LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.5.    Regions Bank                                     XXXX-4985                 Checking                  06/2020 - Shrimp                $0.00
                                                                                           Savings                   Basket Destin,
                                                                                                                      LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.6.    Regions Bank                                     XXXX-4896                 Checking                  06/2020 - Shrimp                $0.00
                                                                                           Savings                   Basket
                                                                                                                      Evergreen, LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.7.    Regions Bank                                     XXXX-4926                 Checking                  06/2020 - Spence                $0.00
                                                                                           Savings                   Enterprises -
                                                                                                                      Shrimp Basket
                                                                                           Money Market
                                                                                                                      Foley]
                                                                                           Brokerage
                                                                                           Other

       18.8.    Regions Bank                                     XXXX-5019                 Checking                  06/2020 - Shrimp                $0.00
                                                                                           Savings                   Basket Ft.
                                                                                                                      Walton, LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other




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                Address                                          account number           instrument                  closed, sold,      before closing or
                                                                                                                      moved, or                   transfer
                                                                                                                      transferred
       18.9.    Regions Bank                                     XXXX-0170                 Checking                  06/2020 - Shrimp                $0.00
                                                                                           Savings                   Basket
                                                                                                                      Gardendale, LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.10 Regions Bank                                        XXXX-4977                 Checking                  06/2020 - Shrimp                $0.00
       .                                                                                                              Basket Gulf
                                                                                           Savings
                                                                                                                      Shores, LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.11 Regions Bank                                        XXXX-4969                 Checking                  06/2020 - Shrimp                $0.00
       .                                                                                                              Basket Gulfport,
                                                                                           Savings
                                                                                                                      LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.12 Regions Bank                                        XXXX-4993                 Checking                  06/2020 - Shrimp                $0.00
       .                                                                                                              Basket
                                                                                           Savings
                                                                                                                      Hattiesburg, LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.13 Regions Bank                                        XXXX-5000                 Checking                  06/2020 - Shrimp                $0.00
       .                                                                                                              Basket
                                                                                           Savings
                                                                                                                      Homewood, LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.14 Regions Bank                                        XXXX-5027                 Checking                  06/2020 - Shrimp                $0.00
       .                                                                                                              Basket Irondale,
                                                                                           Savings
                                                                                                                      LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.15 Regions Bank                                        XXXX-4202                 Checking                  06/2020 - Shrimp                $0.00
       .                                                                                                              Basket Madison
                                                                                           Savings
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.16 Regions Bank                                        XXXX-5035                 Checking                  06/2020 - Shrimp                $0.00
       .                                                                                                              Basket Milton,
                                                                                           Savings
                                                                                                                      LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other




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                Address                                          account number           instrument                  closed, sold,       before closing or
                                                                                                                      moved, or                    transfer
                                                                                                                      transferred
       18.17 Regions Bank                                        XXXX-5078                 Checking                  06/2020 - Shrimp                 $0.00
       .                                                                                                              Basket
                                                                                           Savings
                                                                                                                      Montgomery,
                                                                                           Money Market
                                                                                                                      LLC
                                                                                           Brokerage
                                                                                           Other

       18.18 Regions Bank                                        XXXX-5051                 Checking                  06/2020 - Shrimp                 $0.00
       .                                                                                                              Basket Navarre,
                                                                                           Savings
                                                                                                                      LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.19 Regions Bank                                        XXXX-5086                 Checking                  06/2020 - Shrimp                 $0.00
       .                                                                                                              Basket Navy,
                                                                                           Savings
                                                                                                                      LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.20 Regions Bank                                        XXXX-5116                 Checking                  06/2020 - Shrimp                 $0.00
       .                                                                                                              Basket Nine Mile,
                                                                                           Savings
                                                                                                                      LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.21 Regions Bank                                        XXXX-5108                 Checking                  06/2020 - Shrimp                 $0.00
       .                                                                                                              Basket Old Shell
                                                                                           Savings
                                                                                                                      Road, LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.22 Regions Bank                                        XXXX-4845                 Checking                  06/2020 - Shrimp                 $0.00
       .                                                                                                              Basket Orange
                                                                                           Savings
                                                                                                                      Beach, LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.23 Regions Bank                                        XXXX-4853                 Checking                  06/2020 - Shrimp                 $0.00
       .                                                                                                              Basket Panama
                                                                                           Savings
                                                                                                                      City Beach, LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.24 Regions Bank                                        XXXX-4888                 Checking                  06/2020 - Shrimp                 $0.00
       .                                                                                                              Basket
                                                                                           Savings
                                                                                                                      Pensacola
                                                                                           Money Market
                                                                                                                      Beach, LLC
                                                                                           Brokerage
                                                                                           Other




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                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was           Last balance
                Address                                          account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.25 Regions Bank                                        XXXX-4918                 Checking                  06/2020 - Shrimp                     $0.00
       .                                                                                                              Basket Perdido
                                                                                           Savings
                                                                                                                      Key, LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.26 Regions Bank                                        XXXX-3406                 Checking                  06/2020 - Shrimp                     $0.00
       .                                                                                                              Basket
                                                                                           Savings
                                                                                                                      Ridgeland
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.27 Regions Bank                                        XXXX-4934                 Checking                  06/2020 - Shrimp                     $0.00
       .                                                                                                              Basket Tillman's
                                                                                           Savings
                                                                                                                      Corner, LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.28 Regions Bank                                        XXXX-4950                 Checking                  06/2020 - Shrimp                     $0.00
       .                                                                                                              Basket
                                                                                           Savings
                                                                                                                      Tuscaloosa, LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.29 Regions Bank                                        XXXX-5124                 Checking                  06/2020 - Shrimp                     $0.00
       .                                                                                                              Basket
                                                                                           Savings
                                                                                                                      Warrington, LLC
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
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 Debtor      SBIH, LLC                                                                                  Case number (if known)



    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.                                                     Seafood delivery company                         EIN:
             SB FSD, LLC                                                                                                    XX-XXXXXXX
             c/o G2 Capital Advisors, LLC
             420 Boylston St., #302                                                                            From-To
             Boston, MA 02116

    25.2.                                                     Holding company for operating                    EIN:
             SBBC Shell, LLC                                                                                                XX-XXXXXXX
             c/o G2 Capital Advisors, LLC                     locations
             420 Boylston St., #302                                                                            From-To
             Boston, MA 02116

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 Debtor      SBIH, LLC                                                                                  Case number (if known)




26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
           None
       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Doug Schneider, CPA
                    BKD, LLP
                    14241 Dallas Pkwy., #1100
                    Dallas, TX 75254

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address
       26d.1.  Regions Bank


       26d.2.       Webster Bank, N.A.


       26d.3.       Summit Investment Management


       26d.4.       Triloma Financial Group


       26d.5.       Shrimp Basket Restaurants, LLC



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.




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 Debtor      SBIH, LLC                                                                                  Case number (if known)



       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       SBNH, LLC                                      c/o G2 Capital Advisors, LLC                        Owner                            100%
                                                      420 Boylston St., #302                                                               ownership
                                                      Boston, MA 02116                                                                     interest
       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       Thomas Carver                                  Harren Equity Partners                              Member of the Board of           0% ownership
                                                      200 Garrett St., #F                                 Managers                         interest
                                                      Charlottesville, VA 22902
       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       George McCabe                                  Harren Equity Partners                              Member of the Board of           0% ownership
                                                      200 Garrett St., #f                                 Managers                         interest
                                                      Charlottesville, VA 22902
       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       William Smith                                  Harren Equity Partners                              Member of the Board of           0% ownership
                                                      200 Garrett St. #f                                  Managers                         interest
                                                      Charlottesville, VA 22902


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       Edwin Spence                                   P.O. Box 904                                        Member of the Board of       Resigned on
                                                      Gulf Shores, AL 36547                               Managers                     03/31/2020

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       David Cahoon                                   P.O. Box 904                                        Member of the Board of       Resigned on
                                                      Gulf Shores, AL 36547                               Managers                     03/31/2020

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       Kim Moehler                                    5525 Timber Creek Dr.                               Officer                      Resigned on
                                                      Pace, FL 32571                                                                   04/03/2020

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       Mark Kirke                                     1355 Lombardy Dr.                                   Chief Operating Officer      04/16/2018 -
                                                      Gulf Breeze, FL 32563                               0% ownership interest        06/16/2020

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       Tim Petrillo                                   17 West Las Olas Blvd.                              Member of the Board of       Resigned on
                                                      Fort Lauderdale, FL 33301                           Managers                     05/15/2020
                                                                                                          0% ownership interest

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

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 Debtor      SBIH, LLC                                                                                  Case number (if known)




           No
           Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Mark Kirke                                           $379,711.65 - payroll and bonuses
       .    1355 Lombardy Dr.                                    $1,640.58 - benefits
               Gulf Breeze, FL 32563                             $19,842.50 - expense reimbursements                     various           Various

               Relationship to debtor
               Former Chief Operating
               Officer


       30.2 Harren Equity Partners                                                                                                         Expense
       .                                                         $42,405.59                                              various           reimbursements

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Shrimp Basket Holdings, LLC                                                                                EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         July 16, 2020

 /s/ Jeffrey T. Varsalone                                               Jeffrey T. Varsalone
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Restructuring Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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Post Date   Bank ID  Account Number     Account Name                     Transaction Description   Amount       Ck #   Vendor
 7/7/2020   62000019          282064202 Shrimp Basket Madison            PREAUTHORIZED ACH DEBIT   $ (1,584.50)        VANTIV_INTG_PYMT
 7/7/2020   62000019          282064202 Shrimp Basket Madison            PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219835132 Shrimp Basket Columbus           PREAUTHORIZED ACH DEBIT   $   (109.90)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219835132 Shrimp Basket Columbus           PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219835124 Shrimp Basket Warrington         PREAUTHORIZED ACH DEBIT   $   (838.42)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219835124 Shrimp Basket Warrington         PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219835116 Shrimp Basket Nine Mile          PREAUTHORIZED ACH DEBIT   $ (1,308.45)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219835116 Shrimp Basket Nine Mile          PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219835108 Shrimp Basket Old Shell Rd       PREAUTHORIZED ACH DEBIT   $    (69.95)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219835108 Shrimp Basket Old Shell Rd       PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219835086 Shrimp Basket Navy               PREAUTHORIZED ACH DEBIT   $ (1,228.74)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219835086 Shrimp Basket Navy               PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219835078 Shrimp Basket Montgomery         PREAUTHORIZED ACH DEBIT   $    (74.95)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219835078 Shrimp Basket Montgomery         PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219835051 Shrimp Basket Navarre            PREAUTHORIZED ACH DEBIT   $ (1,432.34)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219835051 Shrimp Basket Navarre            PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219835035 Shrimp Basket Milton             PREAUTHORIZED ACH DEBIT   $   (350.93)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219835035 Shrimp Basket Milton             PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219835027 SHrimp Basket Irondale           PREAUTHORIZED ACH DEBIT   $    (79.95)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219835027 SHrimp Basket Irondale           PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219835019 Shrimp Basket Ft Walton          PREAUTHORIZED ACH DEBIT   $    (64.95)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219835019 Shrimp Basket Ft Walton          PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219835000 Shrimp Basket Homewood           PREAUTHORIZED ACH DEBIT   $    (74.95)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219835000 Shrimp Basket Homewood           PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219834993 Shrimp Basket Hattiesburg        PREAUTHORIZED ACH DEBIT   $    (74.95)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219834993 Shrimp Basket Hattiesburg        PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219834985 Shrimp Basket Destin             PREAUTHORIZED ACH DEBIT   $ (2,411.06)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219834985 Shrimp Basket Destin             PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219834977 Shrimp Basket Gulf Shores        PREAUTHORIZED ACH DEBIT   $ (3,458.62)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219834977 Shrimp Basket Gulf Shores        PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219834969 Shrimp Basket Gulfport           PREAUTHORIZED ACH DEBIT   $ (1,258.30)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219834969 Shrimp Basket Gulfport           PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219834950 Shrimp Basket Tuscaloosa         PREAUTHORIZED ACH DEBIT   $ (1,156.10)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219834950 Shrimp Basket Tuscaloosa         PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219834934 Shrimp Basket Tillmans Corner    PREAUTHORIZED ACH DEBIT   $    (69.95)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219834934 Shrimp Basket Tillmans Corner    PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219834926 Shrimp Basket Foley              PREAUTHORIZED ACH DEBIT   $ (1,838.36)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219834926 Shrimp Basket Foley              PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219834918 Shrimp Basket Perdido Key        PREAUTHORIZED ACH DEBIT   $ (2,771.80)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219834918 Shrimp Basket Perdido Key        PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
 7/7/2020   62000019          219834896 Shrimp Basket Evergreen          PREAUTHORIZED ACH DEBIT   $ (1,051.05)        VANTIV_INTG_PYMT
 7/7/2020   62000019          219834896 Shrimp Basket Evergreen          PREAUTHORIZED ACH DEBIT   $    (14.99)        MERCURY PAYMENT
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 7/7/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $   (1,869.54)      VANTIV_INTG_PYMT
 7/7/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
 7/7/2020   62000019   219834861   Shrimp Basket Bay Minette          PREAUTHORIZED ACH DEBIT   $      (69.95)      VANTIV_INTG_PYMT
 7/7/2020   62000019   219834861   Shrimp Basket Bay Minette          PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
 7/7/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $   (2,524.92)      VANTIV_INTG_PYMT
 7/7/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
 7/7/2020   62000019   219834845   Shrimp Basket Orange Beach         PREAUTHORIZED ACH DEBIT   $   (4,530.92)      VANTIV_INTG_PYMT
 7/7/2020   62000019   219834845   Shrimp Basket Orange Beach         PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
 7/7/2020   62000019   219834837   Shrimp Basket Auburn               PREAUTHORIZED ACH DEBIT   $     (782.19)      VANTIV_INTG_PYMT
 7/7/2020   62000019   219834837   Shrimp Basket Auburn               PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
 7/7/2020   62000019   262413406   Shrimp Basket Ridgeland            PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
 7/7/2020   62000019   262413406   Shrimp Basket Ridgeland            PREAUTHORIZED ACH DEBIT   $      (92.04)      VANTIV_INTG_PYMT
 7/7/2020   62000019   262413406   Shrimp Basket Ridgeland            PREAUTHORIZED ACH DEBIT   $      (94.90)      VANTIV_INTG_PYMT
 7/7/2020   62000019   262413228   Shrimp Basket Cullman              PREAUTHORIZED ACH DEBIT   $      (15.00)      MERCURY PAYMENT
 7/7/2020   62000019   262413228   Shrimp Basket Cullman              PREAUTHORIZED ACH DEBIT   $   (1,242.90)      VANTIV_INTG_PYMT
 7/6/2020   62000019   262413406   Shrimp Basket Ridgeland            PREAUTHORIZED ACH DEBIT   $     (105.99)      5 3 BANKCARD SYS
 7/6/2020   62000019   219835051   Shrimp Basket Navarre              PREAUTHORIZED ACH DEBIT   $   (1,415.00)      Southern Glazer'
6/30/2020   62000019   282064202   Shrimp Basket Madison              PREAUTHORIZED ACH DEBIT   $     (377.65)      Supreme Beverage
6/30/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $     (198.70)      Lewis Bear Co.
6/30/2020   62000019   219835086   Shrimp Basket Navy                 PREAUTHORIZED ACH DEBIT   $     (389.00)      Lewis Bear Co.
6/30/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $     (700.44)      Gulf Distributin
6/30/2020   62000019   219834969   Shrimp Basket Gulfport             PREAUTHORIZED ACH DEBIT   $     (183.95)      Mitchell Beverag
6/30/2020   62000019   219834845   Shrimp Basket Orange Beach         PREAUTHORIZED ACH DEBIT   $   (1,117.60)      Gulf Distributin
6/30/2020   62000019   219834845   Shrimp Basket Orange Beach         PREAUTHORIZED ACH DEBIT   $     (848.50)      Budweiser Busch
6/30/2020   62000019   219834837   Shrimp Basket Auburn               PREAUTHORIZED ACH DEBIT   $     (210.60)      Adams Beverages
6/29/2020   62000019   262413228   Shrimp Basket Cullman              PREAUTHORIZED ACH DEBIT   $     (168.60)      Birmingham Budwe
6/29/2020   62000019   219835124   Shrimp Basket Warrington           PREAUTHORIZED ACH DEBIT   $     (875.45)      Lewis Bear Co.
6/29/2020   62000019   219835051   Shrimp Basket Navarre              PREAUTHORIZED ACH DEBIT   $     (254.81)      Southern Glazer'
6/29/2020   62000019   219835035   Shrimp Basket Milton               PREAUTHORIZED ACH DEBIT   $     (345.20)      Lewis Bear Co.
6/29/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $     (861.38)      Budweiser Busch
6/29/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $   (1,644.61)      Lewis Bear Co.
6/29/2020   62000019   219834837   Shrimp Basket Auburn               PREAUTHORIZED ACH DEBIT   $     (367.40)      Premium Beverage
6/26/2020   62000019   282064202   Shrimp Basket Madison              PREAUTHORIZED ACH DEBIT   $     (327.10)      Turner Beverage
6/26/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $     (930.53)      Southern Glazer'
6/26/2020   62000019   219835086   Shrimp Basket Navy                 PREAUTHORIZED ACH DEBIT   $   (1,303.12)      Southern Glazer'
6/26/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $   (4,329.66)      Southern Glazer'
6/26/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $     (359.74)      Gulf Distributin
6/26/2020   62000019   219834969   Shrimp Basket Gulfport             PREAUTHORIZED ACH DEBIT   $     (152.37)      FEB DISTRIBUTING
6/26/2020   62000019   219834926   Shrimp Basket Foley                PREAUTHORIZED ACH DEBIT   $     (290.80)      Gulf Distributin
6/26/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $   (1,635.07)      Southern Glazer'
6/26/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $   (1,807.29)      Southern Glazer'
6/26/2020   62000019   219834861   Shrimp Basket Bay Minette          PREAUTHORIZED ACH DEBIT   $     (230.40)      United - Johnson
6/26/2020   62000019   219834845   Shrimp Basket Orange Beach         PREAUTHORIZED ACH DEBIT   $     (539.04)      Gulf Distributin
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6/26/2020   62000019   262413228   Shrimp Basket Cullman              PREAUTHORIZED ACH DEBIT   $     (300.40)      Supreme Beverage
6/25/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $   (5,635.23)      FLA DEPT REVENUE
6/25/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $   (9,181.97)      FLA DEPT REVENUE
6/25/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $     (458.85)      Lewis Bear Co.
6/25/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $     (489.75)      Lewis Bear Co.
6/25/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $   (1,486.94)      FLPanamaCityPTax FLPanamaCi
6/25/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $     (429.30)      Southern Glazer'
6/25/2020   62000019   219834845   Shrimp Basket Orange Beach         PREAUTHORIZED ACH DEBIT   $      (83.50)      BUDWEISER BUSCH
6/24/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $     (162.46)      Gulf Distributin
6/24/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $     (437.93)      SOUTHERN GLAZER'
6/24/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $     (506.72)      SOUTHERN GLAZER'
6/24/2020   62000019   219834861   Shrimp Basket Bay Minette          PREAUTHORIZED ACH DEBIT   $     (303.22)      Gulf Distributin
6/23/2020   62000019   282064202   Shrimp Basket Madison              PREAUTHORIZED ACH DEBIT   $     (176.80)      Supreme Beverage
6/23/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $     (143.65)      LEWIS BEAR CO.
6/23/2020   62000019   219835086   Shrimp Basket Navy                 PREAUTHORIZED ACH DEBIT   $     (351.20)      LEWIS BEAR CO.
6/23/2020   62000019   219835051   Shrimp Basket Navarre              PREAUTHORIZED ACH DEBIT   $     (557.00)      LEWIS BEAR CO.
6/23/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $     (168.00)      GOLDRING GULF DI
6/23/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $     (111.20)      GOLDRING GULF DI
6/23/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $      (83.40)      GOLDRING GULF DI
6/22/2020   62000019   282064202   Shrimp Basket Madison              PREAUTHORIZED ACH DEBIT   $      (57.60)      UNITED - JOHNSON
6/22/2020   62000019   262413228   Shrimp Basket Cullman              PREAUTHORIZED ACH DEBIT   $     (146.00)      Birmingham Budwe
6/22/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $     (364.10)      Southern Glazer'
6/22/2020   62000019   219835086   Shrimp Basket Navy                 PREAUTHORIZED ACH DEBIT   $   (1,453.20)      Southern Glazer'
6/22/2020   62000019   219835051   Shrimp Basket Navarre              PREAUTHORIZED ACH DEBIT   $     (349.13)      Southern Glazer'
6/22/2020   62000019   219835035   Shrimp Basket Milton               PREAUTHORIZED ACH DEBIT   $     (165.20)      Lewis Bear Co.
6/22/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $     (904.03)      Southern Glazer'
6/22/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $   (1,028.32)      Budweiser Busch
6/22/2020   62000019   219834896   Shrimp Basket Evergreen            PREAUTHORIZED ACH DEBIT   $     (217.18)      Gulf Distributin
6/22/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $     (484.84)      Southern Glazer'
6/22/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $     (446.35)      Lewis Bear Co.
6/22/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $     (208.40)      GOLDRING GULF DI
6/22/2020   62000019   219834861   Shrimp Basket Bay Minette          PREAUTHORIZED ACH DEBIT   $     (211.98)      Budweiser Busch
6/22/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $     (960.05)      Lewis Bear Co.
6/22/2020   62000019   219834837   Shrimp Basket Auburn               PREAUTHORIZED ACH DEBIT   $     (189.70)      Adams Beverages
6/19/2020   62000019   219834969   Shrimp Basket Gulfport             PREAUTHORIZED ACH DEBIT   $      (53.23)      FEB Distributing
6/19/2020   62000019   282064202   Shrimp Basket Madison              PREAUTHORIZED ACH DEBIT   $     (127.00)      Turner Beverage
6/18/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $     (122.35)      Lewis Bear Co.
6/18/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $      (60.12)      Gulf Distributin
6/18/2020   62000019   219834969   Shrimp Basket Gulfport             PREAUTHORIZED ACH DEBIT   $     (258.44)      Mitchell Beverag
6/18/2020   62000019   219834950   Shrimp Basket Tuscaloosa           PREAUTHORIZED ACH DEBIT   $     (105.48)      Adams Beverage -
6/18/2020   62000019   219834926   Shrimp Basket Foley                PREAUTHORIZED ACH DEBIT   $     (158.84)      BUDWEISER BUSCH
6/18/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $     (427.25)      Lewis Bear Co.
6/18/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $   (1,094.19)      Southern Glazer'
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6/18/2020   62000019   219834845   Shrimp Basket Orange Beach         PREAUTHORIZED ACH DEBIT   $   (798.50)        BUDWEISER BUSCH
6/18/2020   62000019   219834845   Shrimp Basket Orange Beach         PREAUTHORIZED ACH DEBIT   $   (251.65)        Gulf Distributin
6/17/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $ (1,508.37)        SOUTHERN GLAZER'
6/16/2020   62000019   282064202   Shrimp Basket Madison              PREAUTHORIZED ACH DEBIT   $    (11.00)        Supreme Beverage
6/16/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $   (246.10)        GOLDRING GULF DI
6/16/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $   (190.85)        Lewis Bear Co.
6/16/2020   62000019   219835094   Fresh Seafood Deliveries           CHECK PAID                $   (229.53)   2190 Town of Loxley
6/16/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $   (157.20)        GOLDRING GULF DI
6/16/2020   62000019   219834950   Shrimp Basket Tuscaloosa           PREAUTHORIZED ACH DEBIT   $   (174.64)        Gulf Supreme of
6/15/2020   62000019   262413228   Shrimp Basket Cullman              PREAUTHORIZED ACH DEBIT   $   (345.00)        Birmingham Budwe
6/15/2020   62000019   219835094   Fresh Seafood Deliveries           CHECK PAID                $ (1,200.00)   2191 Jason Winfield (relocation)
6/15/2020   62000019   219835051   Shrimp Basket Navarre              PREAUTHORIZED ACH DEBIT   $   (477.76)        Southern Glazer'
6/15/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $    (17.52)        Budweiser Busch
6/15/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $   (168.00)        GOLDRING GULF DI
6/15/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $    (30.45)        Lewis Bear Co.
6/15/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $   (171.31)        Lewis Bear Co.
6/15/2020   62000019   219834837   Shrimp Basket Auburn               PREAUTHORIZED ACH DEBIT   $   (105.30)        Adams Beverages
6/12/2020   62000019   262413228   Shrimp Basket Cullman              PREAUTHORIZED ACH DEBIT   $    (26.95)        Supreme Beverage
6/12/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $   (641.21)        Southern Glazer'
6/12/2020   62000019   219835086   Shrimp Basket Navy                 PREAUTHORIZED ACH DEBIT   $   (226.80)        Lewis Bear Co.
6/12/2020   62000019   219834969   Shrimp Basket Gulfport             PREAUTHORIZED ACH DEBIT   $    (45.90)        FEB Distributing
6/12/2020   62000019   219834896   Shrimp Basket Evergreen            PREAUTHORIZED ACH DEBIT   $   (984.33)        BUDWEISER BUSCH
6/11/2020   62000019   219835124   Shrimp Basket Warrington           PREAUTHORIZED ACH DEBIT   $   (807.11)        Southern Glazer'
6/11/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $   (195.10)        Lewis Bear Co.
6/11/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $   (174.64)        Gulf Distributin
6/11/2020   62000019   219834950   Shrimp Basket Tuscaloosa           PREAUTHORIZED ACH DEBIT   $    (84.28)        ADAMS BEVERAGE -
6/11/2020   62000019   219834926   Shrimp Basket Foley                PREAUTHORIZED ACH DEBIT   $   (784.48)        Budweiser Busch
6/11/2020   62000019   219834926   Shrimp Basket Foley                PREAUTHORIZED ACH DEBIT   $   (261.90)        Gulf Distributin
6/11/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $   (270.75)        Lewis Bear Co.
6/10/2020   62000019   219834926   Shrimp Basket Foley                PREAUTHORIZED ACH DEBIT   $   (115.20)        UNITED - JOHNSON
6/10/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $   (781.17)        Southern Glazer'
6/10/2020   62000019   219834896   Shrimp Basket Evergreen            PREAUTHORIZED ACH DEBIT   $   (114.52)        Gulf Distributin
6/10/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $   (700.40)        Southern Glazer'
 6/9/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $   (164.25)        Lewis Bear Co.
 6/9/2020   62000019   219835051   Shrimp Basket Navarre              PREAUTHORIZED ACH DEBIT   $   (143.80)        GOLDRING GULF DI
 6/9/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $   (149.80)        GOLDRING GULF DI
 6/9/2020   62000019   219834896   Shrimp Basket Evergreen            PREAUTHORIZED ACH DEBIT   $   (300.00)        UNITED - JOHNSON
 6/9/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $   (127.40)        GOLDRING GULF DI
 6/9/2020   62000019   219834845   Shrimp Basket Orange Beach         PREAUTHORIZED ACH DEBIT   $   (174.64)        Gulf Distributin
 6/9/2020   62000019   219834837   Shrimp Basket Auburn               PREAUTHORIZED ACH DEBIT   $    (16.74)        fintech.net
 6/8/2020   62000019   219835086   Shrimp Basket Navy                 PREAUTHORIZED ACH DEBIT   $     (6.21)        5 3 BANKCARD SYS
 6/8/2020   62000019   219835051   Shrimp Basket Navarre              PREAUTHORIZED ACH DEBIT   $   (253.91)        Southern Glazer'
 6/8/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $    (91.80)        GOLDRING GULF DI
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6/8/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $      (56.12)      BUDWEISER BUSCH
6/8/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $     (231.60)      LEWIS BEAR CO.
6/8/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $      (88.80)      GOLDRING GULF DI
6/8/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $   (1,012.10)      LEWIS BEAR CO.
6/8/2020   62000019   219834837   Shrimp Basket Auburn               PREAUTHORIZED ACH DEBIT   $      (23.90)      Premium Beverage
6/8/2020   62000019   262413228   Shrimp Basket Cullman              PREAUTHORIZED ACH DEBIT   $      (21.60)      Birmingham Budwe
6/5/2020   62000019   282064202   Shrimp Basket Madison              PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
6/5/2020   62000019   282064202   Shrimp Basket Madison              PREAUTHORIZED ACH DEBIT   $     (172.70)      TURNER BEVERAGE
6/5/2020   62000019   282064202   Shrimp Basket Madison              PREAUTHORIZED ACH DEBIT   $   (1,826.40)      VANTIV_INTG_PYMT
6/5/2020   62000019   219835132   Shrimp Basket Columbus             PREAUTHORIZED ACH DEBIT   $     (109.90)      VANTIV_INTG_PYMT
6/5/2020   62000019   219835132   Shrimp Basket Columbus             PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
6/5/2020   62000019   219835124   Shrimp Basket Warrington           PREAUTHORIZED ACH DEBIT   $   (1,400.61)      VANTIV_INTG_PYMT
6/5/2020   62000019   219835124   Shrimp Basket Warrington           PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
6/5/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $   (2,192.55)      VANTIV_INTG_PYMT
6/5/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
6/5/2020   62000019   219835108   Shrimp Basket Old Shell Rd         PREAUTHORIZED ACH DEBIT   $      (69.95)      VANTIV_INTG_PYMT
6/5/2020   62000019   219835108   Shrimp Basket Old Shell Rd         PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
6/5/2020   62000019   219835086   Shrimp Basket Navy                 PREAUTHORIZED ACH DEBIT   $   (2,029.42)      VANTIV_INTG_PYMT
6/5/2020   62000019   219835086   Shrimp Basket Navy                 PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
6/5/2020   62000019   219835078   Shrimp Basket Montgomery           PREAUTHORIZED ACH DEBIT   $      (74.95)      VANTIV_INTG_PYMT
6/5/2020   62000019   219835078   Shrimp Basket Montgomery           PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
6/5/2020   62000019   219835051   Shrimp Basket Navarre              PREAUTHORIZED ACH DEBIT   $   (2,053.67)      VANTIV_INTG_PYMT
6/5/2020   62000019   219835051   Shrimp Basket Navarre              PREAUTHORIZED ACH DEBIT   $     (782.40)      LEWIS BEAR CO.
6/5/2020   62000019   219835051   Shrimp Basket Navarre              PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
6/5/2020   62000019   219835035   Shrimp Basket Milton               PREAUTHORIZED ACH DEBIT   $      (74.95)      VANTIV_INTG_PYMT
6/5/2020   62000019   219835035   Shrimp Basket Milton               PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
6/5/2020   62000019   219835027   SHrimp Basket Irondale             PREAUTHORIZED ACH DEBIT   $      (79.95)      VANTIV_INTG_PYMT
6/5/2020   62000019   219835027   SHrimp Basket Irondale             PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
6/5/2020   62000019   219835019   Shrimp Basket Ft Walton            PREAUTHORIZED ACH DEBIT   $      (64.95)      VANTIV_INTG_PYMT
6/5/2020   62000019   219835019   Shrimp Basket Ft Walton            PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
6/5/2020   62000019   219835000   Shrimp Basket Homewood             PREAUTHORIZED ACH DEBIT   $      (74.95)      VANTIV_INTG_PYMT
6/5/2020   62000019   219835000   Shrimp Basket Homewood             PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
6/5/2020   62000019   219834993   Shrimp Basket Hattiesburg          PREAUTHORIZED ACH DEBIT   $      (74.95)      VANTIV_INTG_PYMT
6/5/2020   62000019   219834993   Shrimp Basket Hattiesburg          PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
6/5/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $   (2,221.58)      VANTIV_INTG_PYMT
6/5/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $     (835.33)      SOUTHERN GLAZER'
6/5/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
6/5/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $   (6,239.64)      VANTIV_INTG_PYMT
6/5/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $      (91.82)      Gulf Distributin
6/5/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
6/5/2020   62000019   219834969   Shrimp Basket Gulfport             PREAUTHORIZED ACH DEBIT   $   (1,482.98)      VANTIV_INTG_PYMT
6/5/2020   62000019   219834969   Shrimp Basket Gulfport             PREAUTHORIZED ACH DEBIT   $     (153.22)      FEB Distributing
6/5/2020   62000019   219834969   Shrimp Basket Gulfport             PREAUTHORIZED ACH DEBIT   $      (14.99)      MERCURY PAYMENT
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6/5/2020   62000019   219834950   Shrimp Basket Tuscaloosa           PREAUTHORIZED ACH DEBIT   $       (69.95)     VANTIV_INTG_PYMT
6/5/2020   62000019   219834950   Shrimp Basket Tuscaloosa           PREAUTHORIZED ACH DEBIT   $       (14.99)     MERCURY PAYMENT
6/5/2020   62000019   219834934   Shrimp Basket Tillmans Corner      PREAUTHORIZED ACH DEBIT   $       (69.95)     VANTIV_INTG_PYMT
6/5/2020   62000019   219834934   Shrimp Basket Tillmans Corner      PREAUTHORIZED ACH DEBIT   $       (14.99)     MERCURY PAYMENT
6/5/2020   62000019   219834926   Shrimp Basket Foley                PREAUTHORIZED ACH DEBIT   $    (1,985.02)     VANTIV_INTG_PYMT
6/5/2020   62000019   219834926   Shrimp Basket Foley                PREAUTHORIZED ACH DEBIT   $       (14.99)     MERCURY PAYMENT
6/5/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $    (4,268.32)     VANTIV_INTG_PYMT
6/5/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $       (14.99)     MERCURY PAYMENT
6/5/2020   62000019   219834896   Shrimp Basket Evergreen            PREAUTHORIZED ACH DEBIT   $      (269.17)     VANTIV_INTG_PYMT
6/5/2020   62000019   219834896   Shrimp Basket Evergreen            PREAUTHORIZED ACH DEBIT   $       (14.99)     MERCURY PAYMENT
6/5/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $    (2,334.92)     VANTIV_INTG_PYMT
6/5/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $       (14.99)     MERCURY PAYMENT
6/5/2020   62000019   219834861   Shrimp Basket Bay Minette          PREAUTHORIZED ACH DEBIT   $       (69.95)     VANTIV_INTG_PYMT
6/5/2020   62000019   219834861   Shrimp Basket Bay Minette          PREAUTHORIZED ACH DEBIT   $       (14.99)     MERCURY PAYMENT
6/5/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $    (4,073.45)     VANTIV_INTG_PYMT
6/5/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $       (45.14)     5 3 BANKCARD SYS
6/5/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $       (14.99)     MERCURY PAYMENT
6/5/2020   62000019   219834845   Shrimp Basket Orange Beach         PREAUTHORIZED ACH DEBIT   $    (7,181.82)     VANTIV_INTG_PYMT
6/5/2020   62000019   219834845   Shrimp Basket Orange Beach         PREAUTHORIZED ACH DEBIT   $       (14.99)     MERCURY PAYMENT
6/5/2020   62000019   219834837   Shrimp Basket Auburn               PREAUTHORIZED ACH DEBIT   $      (668.50)     VANTIV_INTG_PYMT
6/5/2020   62000019   219834837   Shrimp Basket Auburn               PREAUTHORIZED ACH DEBIT   $       (14.99)     MERCURY PAYMENT
6/5/2020   62000019   262413406   Shrimp Basket Ridgeland            PREAUTHORIZED ACH DEBIT   $       (14.99)     MERCURY PAYMENT
6/5/2020   62000019   262413406   Shrimp Basket Ridgeland            PREAUTHORIZED ACH DEBIT   $       (94.90)     VANTIV_INTG_PYMT
6/5/2020   62000019   262413406   Shrimp Basket Ridgeland            PREAUTHORIZED ACH DEBIT   $       (95.66)     VANTIV_INTG_PYMT
6/5/2020   62000019   262413228   Shrimp Basket Cullman              PREAUTHORIZED ACH DEBIT   $       (15.00)     MERCURY PAYMENT
6/5/2020   62000019   262413228   Shrimp Basket Cullman              PREAUTHORIZED ACH DEBIT   $    (1,425.71)     VANTIV_INTG_PYMT
6/5/2020   62000019   213150170   Shrimp Basket Gardendale LLC       PREAUTHORIZED ACH DEBIT   $       (74.95)     VANTIV_INTG_PYMT
6/5/2020   62000019   213150170   Shrimp Basket Gardendale LLC       PREAUTHORIZED ACH DEBIT   $       (14.99)     MERCURY PAYMENT
6/4/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $   (10,436.16)     FLA DEPT REVENUE
6/4/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $      (312.00)     Lewis Bear Co.
6/4/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $    (9,042.56)     FLA DEPT REVENUE
6/4/2020   62000019   219834969   Shrimp Basket Gulfport             PREAUTHORIZED ACH DEBIT   $       (26.87)     Mitchell Beverag
6/4/2020   62000019   219834969   Shrimp Basket Gulfport             PREAUTHORIZED ACH DEBIT   $    (7,932.14)     MSDEPTOFREVENUE
6/4/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $      (192.50)     Lewis Bear Co.
6/4/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $      (718.35)     Southern Glazer'
6/4/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $    (2,142.48)     Southern Glazer'
6/4/2020   62000019   219834845   Shrimp Basket Orange Beach         PREAUTHORIZED ACH DEBIT   $      (415.00)     Budweiser Busch
6/3/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $      (300.00)     Budweiser Busch
6/3/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $      (115.20)     United - Johnson
6/3/2020   62000019   219834837   Shrimp Basket Auburn               PREAUTHORIZED ACH DEBIT   $      (179.00)     Adams Beverages
6/2/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $      (197.60)     GOLDRING GULF DI
6/2/2020   62000019   219835051   Shrimp Basket Navarre              PREAUTHORIZED ACH DEBIT   $      (180.60)     GOLDRING GULF DI
6/2/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $      (188.40)     GOLDRING GULF DI
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 6/2/2020   62000019   219834896   Shrimp Basket Evergreen            PREAUTHORIZED ACH DEBIT   $     (295.34)      GULF DISTRIBUTIN
 6/2/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $     (291.00)      LEWIS BEAR CO.
 6/2/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $     (355.20)      GOLDRING GULF DI
 6/1/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $     (223.98)      SOUTHERN GLAZER'
 6/1/2020   62000019   219835051   Shrimp Basket Navarre              PREAUTHORIZED ACH DEBIT   $     (718.92)      Southern Glazer'
 6/1/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $     (421.96)      Budweiser Busch
 6/1/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $   (1,042.68)      SOUTHERN GLAZER'
 6/1/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $     (679.30)      SOUTHERN GLAZER'
 6/1/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $     (249.40)      GOLDRING GULF DI
 6/1/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $      (88.75)      Lewis Bear Co.
 6/1/2020   62000019   219834837   Shrimp Basket Auburn               PREAUTHORIZED ACH DEBIT   $      (30.30)      Premium Beverage
5/29/2020   62000019   262413228   Shrimp Basket Cullman              PREAUTHORIZED ACH DEBIT   $      (74.90)      Supreme Beverage
5/29/2020   62000019   219835051   Shrimp Basket Navarre              PREAUTHORIZED ACH DEBIT   $     (211.40)      Lewis Bear Co.
5/29/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $     (217.36)      Gulf Distributin
5/29/2020   62000019   219834896   Shrimp Basket Evergreen            PREAUTHORIZED ACH DEBIT   $     (268.44)      BUDWEISER BUSCH
5/29/2020   62000019   219834837   Shrimp Basket Auburn               PREAUTHORIZED ACH DEBIT   $      (60.16)      HARLAND CLARKE
5/28/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $     (110.30)      Lewis Bear Co.
5/28/2020   62000019   219835086   Shrimp Basket Navy                 PREAUTHORIZED ACH DEBIT   $     (117.20)      Lewis Bear Co.
5/28/2020   62000019   219835019   Shrimp Basket Ft Walton            PREAUTHORIZED ACH DEBIT   $     (260.51)      FLPanamaCityPTax
5/28/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $     (172.50)      Lewis Bear Co.
5/28/2020   62000019   219834926   Shrimp Basket Foley                PREAUTHORIZED ACH DEBIT   $     (319.88)      Budweiser Busch
5/28/2020   62000019   219834926   Shrimp Basket Foley                PREAUTHORIZED ACH DEBIT   $     (399.66)      GULF DISTRIBUTIN
5/28/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $      (53.00)      Lewis Bear Co.
5/28/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $     (384.20)      Lewis Bear Co.
5/28/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $     (438.08)      FLPanamaCityPTax
5/28/2020   62000019   219834845   Shrimp Basket Orange Beach         PREAUTHORIZED ACH DEBIT   $     (609.54)      Budweiser Busch
5/27/2020   62000019   219835124   Shrimp Basket Warrington           PREAUTHORIZED ACH DEBIT   $   (3,755.40)      FLA DEPT REVENUE
5/27/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $   (6,463.80)      FLA DEPT REVENUE
5/27/2020   62000019   219835086   Shrimp Basket Navy                 PREAUTHORIZED ACH DEBIT   $   (3,979.58)      FLA DEPT REVENUE
5/27/2020   62000019   219835051   Shrimp Basket Navarre              PREAUTHORIZED ACH DEBIT   $   (3,313.73)      FLA DEPT REVENUE
5/27/2020   62000019   219835051   Shrimp Basket Navarre              PREAUTHORIZED ACH DEBIT   $      (61.00)      GOLDRING GULF DI
5/27/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $     (179.01)      FLA DEPT REVENUE
5/27/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $     (147.40)      GOLDRING GULF DI
5/27/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $   (3,710.48)      FLA DEPT REVENUE
5/27/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $     (194.60)      GOLDRING GULF DI
5/26/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $     (354.70)      BUDWEISER BUSCH
5/22/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $      (62.55)      HARLAND CLARKE
5/22/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $      (62.34)      HARLAND CLARKE
5/22/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $   (1,440.96)      SOUTHERN GLAZER'
5/22/2020   62000019   219834969   Shrimp Basket Gulfport             PREAUTHORIZED ACH DEBIT   $     (925.00)      MSDEPTOFREVENUE
5/22/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $     (853.30)      SOUTHERN GLAZER'
5/22/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $   (1,068.50)      SOUTHERN GLAZER'
5/21/2020   62000019   219835124   Shrimp Basket Warrington           PREAUTHORIZED ACH DEBIT   $     (586.86)      SOUTHERN GLAZER'
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5/21/2020   62000019   219835086   Shrimp Basket Navy                 PREAUTHORIZED ACH DEBIT   $    (53.20)     Lewis Bear Co.
5/21/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $   (294.80)     Lewis Bear Co.
5/21/2020   62000019   219834969   Shrimp Basket Gulfport             PREAUTHORIZED ACH DEBIT   $ (6,926.87)     MSDEPTOFREVENUE
5/21/2020   62000019   219834969   Shrimp Basket Gulfport             PREAUTHORIZED ACH DEBIT   $ (4,274.51)     MSDEPTOFREVENUE
5/21/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $   (361.60)     Lewis Bear Co.
5/21/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $   (104.55)     5 3 BANKCARD SYS
5/21/2020   62000019   219834845   Shrimp Basket Orange Beach         PREAUTHORIZED ACH DEBIT   $   (212.79)     Budweiser Busch
5/20/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $   (256.65)     SOUTHERN GLAZER'
5/19/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $   (938.11)     SOUTHERN GLAZER'
5/19/2020   62000019   219835051   Shrimp Basket Navarre              PREAUTHORIZED ACH DEBIT   $   (210.80)     GOLDRING GULF DI
5/18/2020   62000019   219835086   Shrimp Basket Navy                 PREAUTHORIZED ACH DEBIT   $   (175.20)     GOLDRING GULF DI
5/18/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $   (687.50)     Lewis Bear Co.
5/15/2020   62000019   219835132   Shrimp Basket Columbus             PREAUTHORIZED ACH DEBIT   $   (266.75)     SAVANNAH DISTRIB
5/15/2020   62000019   219834845   Shrimp Basket Orange Beach         PREAUTHORIZED ACH DEBIT   $   (390.00)     BUDWEISER BUSCH
5/15/2020   62000019   219834837   Shrimp Basket Auburn               PREAUTHORIZED ACH DEBIT   $   (309.20)     Premium Beverage
5/14/2020   62000019   219835086   Shrimp Basket Navy                 PREAUTHORIZED ACH DEBIT   $   (274.60)     Lewis Bear Co.
5/14/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $   (852.00)     BUDWEISER BUSCH
5/14/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $    (49.75)     Lewis Bear Co.
5/14/2020   62000019   219834845   Shrimp Basket Orange Beach         PREAUTHORIZED ACH DEBIT   $   (494.00)     BUDWEISER BUSCH
5/13/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $   (898.92)     Southern Glazer'
5/11/2020   62000019   219835124   Shrimp Basket Warrington           PREAUTHORIZED ACH DEBIT   $   (142.00)     Lewis Bear Co.
5/11/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $    (81.79)     5 3 BANKCARD SYS
 5/8/2020   62000019   282064202   Shrimp Basket Madison              PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
 5/8/2020   62000019   262413406   Shrimp Basket Ridgeland            PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
 5/8/2020   62000019   262413228   Shrimp Basket Cullman              PREAUTHORIZED ACH DEBIT   $    (15.00)     MERCURY PAYMENT
 5/8/2020   62000019   219835132   Shrimp Basket Columbus             PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
 5/8/2020   62000019   219835124   Shrimp Basket Warrington           PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
 5/8/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
 5/8/2020   62000019   219835108   Shrimp Basket Old Shell Rd         PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
 5/8/2020   62000019   219835086   Shrimp Basket Navy                 PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
 5/8/2020   62000019   219835078   Shrimp Basket Montgomery           PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
 5/8/2020   62000019   219835051   Shrimp Basket Navarre              PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
 5/8/2020   62000019   219835035   Shrimp Basket Milton               PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
 5/8/2020   62000019   219835027   SHrimp Basket Irondale             PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
 5/8/2020   62000019   219835019   Shrimp Basket Ft Walton            PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
 5/8/2020   62000019   219835000   Shrimp Basket Homewood             PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
 5/8/2020   62000019   219834993   Shrimp Basket Hattiesburg          PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
 5/8/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
 5/8/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
 5/8/2020   62000019   219834969   Shrimp Basket Gulfport             PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
 5/8/2020   62000019   219834950   Shrimp Basket Tuscaloosa           PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
 5/8/2020   62000019   219834934   Shrimp Basket Tillmans Corner      PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
 5/8/2020   62000019   219834926   Shrimp Basket Foley                PREAUTHORIZED ACH DEBIT   $    (14.99)     MERCURY PAYMENT
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5/8/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $       (14.99)        MERCURY PAYMENT
5/8/2020   62000019   219834896   Shrimp Basket Evergreen            PREAUTHORIZED ACH DEBIT   $       (14.99)        MERCURY PAYMENT
5/8/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $       (14.99)        MERCURY PAYMENT
5/8/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $      (919.44)        SOUTHERN GLAZER'
5/8/2020   62000019   219834861   Shrimp Basket Bay Minette          PREAUTHORIZED ACH DEBIT   $       (14.99)        MERCURY PAYMENT
5/8/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $       (14.99)        MERCURY PAYMENT
5/8/2020   62000019   219834845   Shrimp Basket Orange Beach         PREAUTHORIZED ACH DEBIT   $       (14.99)        MERCURY PAYMENT
5/8/2020   62000019   219834837   Shrimp Basket Auburn               PREAUTHORIZED ACH DEBIT   $       (14.99)        MERCURY PAYMENT
5/8/2020   62000019   213150170   Shrimp Basket Gardendale LLC       PREAUTHORIZED ACH DEBIT   $       (14.99)        MERCURY PAYMENT
5/7/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $      (610.08)        Southern Glazer'
5/7/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $       (85.00)        LEWIS BEAR CO.
5/6/2020   62000019   219835051   Shrimp Basket Navarre              PREAUTHORIZED ACH DEBIT   $    (4,777.30)        SANTA ROSA COUNT TAX COLL.
5/5/2020   62000019   219835132   Shrimp Basket Columbus             PREAUTHORIZED ACH DEBIT   $       (88.50)        VANTIV_INTG_PYMT
5/5/2020   62000019   219835124   Shrimp Basket Warrington           PREAUTHORIZED ACH DEBIT   $      (719.09)        VANTIV_INTG_PYMT
5/5/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $    (1,287.46)        VANTIV_INTG_PYMT
5/5/2020   62000019   219835108   Shrimp Basket Old Shell Rd         PREAUTHORIZED ACH DEBIT   $       (61.29)        VANTIV_INTG_PYMT
5/5/2020   62000019   219835094   Fresh Seafood Deliveries           CHECK PAID                $   (11,503.00)   2188 Wheels Up Inc
5/5/2020   62000019   219835086   Shrimp Basket Navy                 PREAUTHORIZED ACH DEBIT   $      (892.92)        VANTIV_INTG_PYMT
5/5/2020   62000019   219835078   Shrimp Basket Montgomery           PREAUTHORIZED ACH DEBIT   $       (66.25)        VANTIV_INTG_PYMT
5/5/2020   62000019   219835051   Shrimp Basket Navarre              PREAUTHORIZED ACH DEBIT   $      (785.12)        VANTIV_INTG_PYMT
5/5/2020   62000019   219835035   Shrimp Basket Milton               PREAUTHORIZED ACH DEBIT   $       (66.20)        VANTIV_INTG_PYMT
5/5/2020   62000019   219835027   SHrimp Basket Irondale             PREAUTHORIZED ACH DEBIT   $      (101.68)        VANTIV_INTG_PYMT
5/5/2020   62000019   219835019   Shrimp Basket Ft Walton            PREAUTHORIZED ACH DEBIT   $       (56.29)        VANTIV_INTG_PYMT
5/5/2020   62000019   219835000   Shrimp Basket Homewood             PREAUTHORIZED ACH DEBIT   $       (96.53)        VANTIV_INTG_PYMT
5/5/2020   62000019   219834993   Shrimp Basket Hattiesburg          PREAUTHORIZED ACH DEBIT   $       (66.25)        VANTIV_INTG_PYMT
5/5/2020   62000019   219834985   Shrimp Basket Destin               PREAUTHORIZED ACH DEBIT   $      (155.31)        VANTIV_INTG_PYMT
5/5/2020   62000019   219834977   Shrimp Basket Gulf Shores          PREAUTHORIZED ACH DEBIT   $    (1,251.63)        VANTIV_INTG_PYMT
5/5/2020   62000019   219834969   Shrimp Basket Gulfport             PREAUTHORIZED ACH DEBIT   $      (767.32)        VANTIV_INTG_PYMT
5/5/2020   62000019   219834950   Shrimp Basket Tuscaloosa           PREAUTHORIZED ACH DEBIT   $       (62.23)        VANTIV_INTG_PYMT
5/5/2020   62000019   219834934   Shrimp Basket Tillmans Corner      PREAUTHORIZED ACH DEBIT   $       (61.25)        VANTIV_INTG_PYMT
5/5/2020   62000019   219834926   Shrimp Basket Foley                PREAUTHORIZED ACH DEBIT   $       (96.70)        VANTIV_INTG_PYMT
5/5/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $    (1,061.28)        VANTIV_INTG_PYMT
5/5/2020   62000019   219834896   Shrimp Basket Evergreen            PREAUTHORIZED ACH DEBIT   $       (61.20)        VANTIV_INTG_PYMT
5/5/2020   62000019   219834888   Shrimp Basket Pensacola Beach      PREAUTHORIZED ACH DEBIT   $       (96.25)        VANTIV_INTG_PYMT
5/5/2020   62000019   219834861   Shrimp Basket Bay Minette          PREAUTHORIZED ACH DEBIT   $       (61.25)        VANTIV_INTG_PYMT
5/5/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $      (874.39)        VANTIV_INTG_PYMT
5/5/2020   62000019   219834845   Shrimp Basket Orange Beach         PREAUTHORIZED ACH DEBIT   $    (1,199.75)        VANTIV_INTG_PYMT
5/5/2020   62000019   219834837   Shrimp Basket Auburn               PREAUTHORIZED ACH DEBIT   $       (56.25)        VANTIV_INTG_PYMT
5/5/2020   62000019   262413406   Shrimp Basket Ridgeland            PREAUTHORIZED ACH DEBIT   $       (57.70)        VANTIV_INTG_PYMT
5/5/2020   62000019   262413406   Shrimp Basket Ridgeland            PREAUTHORIZED ACH DEBIT   $       (73.29)        VANTIV_INTG_PYMT
5/5/2020   62000019   262413228   Shrimp Basket Cullman              PREAUTHORIZED ACH DEBIT   $      (726.81)        VANTIV_INTG_PYMT
5/5/2020   62000019   213150170   Shrimp Basket Gardendale LLC       PREAUTHORIZED ACH DEBIT   $       (96.35)        VANTIV_INTG_PYMT
5/5/2020   62000019   282064202   Shrimp Basket Madison              PREAUTHORIZED ACH DEBIT   $    (1,021.89)        VANTIV_INTG_PYMT
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 5/1/2020   62000019   219834845   Shrimp Basket Orange Beach         PREAUTHORIZED ACH DEBIT   $      (31.52)      5 3 BANKCARD SYS
4/30/2020   62000019   262413406   Shrimp Basket Ridgeland            PREAUTHORIZED ACH DEBIT   $       (5.00)      5 3 BANKCARD SYS
4/30/2020   62000019   219834853   Shrimp Basket Panama City Beach    PREAUTHORIZED ACH DEBIT   $      (12.81)      5 3 BANKCARD SYS
4/22/2020   62000019   219834918   Shrimp Basket Perdido Key          PREAUTHORIZED ACH DEBIT   $     (611.04)      SOUTHERN GLAZER'
4/21/2020   62000019   219835116   Shrimp Basket Nine Mile            PREAUTHORIZED ACH DEBIT   $      (86.91)      5 3 BANKCARD SYS
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Synovus Bank

                                                                                                 Withdrawal
Date      Status Description                                                     Serial Number   Amount         Desc
7/14/2020        PREAUTHORIZED WD AL ONESPOT TAX Alabama.go 200714 20207850570                    $ 42,436.40   AL Dept of Revenue
7/14/2020        PREAUTHORIZED WD MSDEPTOFREVENUE TAXPAYMENT 200714 M388885248                    $ 5,184.09    MS Dept of Revenue
7/14/2020        PREAUTHORIZED WD AL-DEPT OF REV DIRECT DBT 200713 579253632                      $ 33,321.81   AL Dept of Revenue
7/14/2020        PREAUTHORIZED WD AL-DEPT OF REV DIRECT DBT 200713 306056576                      $ 4,858.80    AL Dept of Revenue
7/13/2020        CHECK TLR 06 BR 188                                                              $ 3,851.47    Shrimp Basket Bottling Regions Account
7/13/2020        PREAUTHORIZED WD SANTA ROSA COUNT TAX COLL. 200713                               $ 2,902.03    Santa Rosa Tax Collector
7/13/2020        PREAUTHORIZED WD SANTA ROSA COUNT TAX COLL. 200713                               $ 2,902.03    Santa Rosa Tax Authority
7/10/2020        ECP INCLEARING CHECK                                            16072            $    108.00   Shrimp Basket Bottling Regions Account
7/10/2020        CHECK                                                           16073            $ 9,448.90    Paycom Payroll LLC
 7/9/2020        ECP INCLEARING CHECK                                            16071            $ 20,434.50   Shrimp Basket Restaurants, LLC
 7/9/2020        ECP INCLEARING CHECK                                            16070            $ 28,833.04   Shrimp Basket Bottling Regions Account
 7/6/2020        CHECK                                                           16064            $ 1,071.03    Avenu Insights and Analytics
 7/6/2020        CHECK                                                           16065            $    438.75   City of Cullman
 7/6/2020        CHECK                                                           16066            $     29.15   City of Foley
 7/6/2020        CHECK                                                           16067            $    213.16   City of Gulf Shores
 7/6/2020        CHECK                                                           16068            $    728.24   City of Madison - Revenue Dept
 7/6/2020        CHECK                                                           16069            $    388.67   Santa Rosa Island Authority
6/26/2020        SERVICE CHARGE DOMESTIC WIRE IN                                                  $     18.00   Fees
6/16/2020        MAINTENANCE FEE ANALYSIS ACTIVITY FOR 05/20                                      $     68.72   Fees
5/13/2020        MAINTENANCE FEE ANALYSIS ACTIVITY FOR 04/20                                      $     32.73   Fees
4/15/2020        MAINTENANCE FEE ANALYSIS ACTIVITY FOR 03/20                                      $     56.40   Fees
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Northern District of Florida
 In re       SBIH, LLC                                                                                        Case No.
                                                                                   Debtor(s)                  Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                 $                 45,000.00
              Prior to the filing of this statement I have received                                       $                 45,000.00
              Balance Due                                                                                 $                       0.00

2.     The source of the compensation paid to me was:
               Debtor                   Other (specify):           SBIH, LLC d/b/a Shrimp Basket Corp

3.     The source of compensation to be paid to me is:
               Debtor                   Other (specify):           N/A

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  Attendance at routine Rule 2004 examinations, prosecution and defense of routine administrative matters, and
                  communications incidental thereto.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Defense of adversary proceedings or other contested matters, complex Rule 2004 examinations, preparation of
               responses to discovery, and any other matters not expressly identified above.
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     July 16, 2020                                                                 /s/ Richard R. Thames
     Date                                                                          Richard R. Thames
                                                                                   Signature of Attorney
                                                                                   Thames Markey & Heekin, PA
                                                                                   50 North Laura Street
                                                                                   Suite 1600
                                                                                   Jacksonville, FL 32202
                                                                                   904-358-4000 Fax: 904-358-4001
                                                                                   abd@tmhlaw.net
                                                                                   Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Northern District of Florida
 In re      SBIH, LLC                                                                                    Case No.
                                                                                 Debtor(s)               Chapter     7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for SBIH, LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 SBNH, LLC
 c/o G2 Capital Advisors, LLC
 420 Boylston St., #302
 Boston, MA 02116




 None [Check if applicable]




 July 16, 2020                                                       /s/ Richard R. Thames
 Date                                                                Richard R. Thames
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for SBIH, LLC
                                                                     Thames Markey & Heekin, PA
                                                                     50 North Laura Street
                                                                     Suite 1600
                                                                     Jacksonville, FL 32202
                                                                     904-358-4000 Fax:904-358-4001
                                                                     abd@tmhlaw.net




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                                                               United States Bankruptcy Court
                                                                     Northern District of Florida
 In re      SBIH, LLC                                                                                      Case No.
                                                                                  Debtor(s)                Chapter        7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Chief Restructuring Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




 Date:       July 16, 2020                                             /s/ Jeffrey T. Varsalone
                                                                       Jeffrey T. Varsalone/Chief Restructuring Officer
                                                                       Signer/Title




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SBIH, LLC                               Airgas National Carbonation           Ashland Station, LLC
c/o G2 Capital Advisors, LLC            P O Box 734673                        3601 Spring Hill Business Park, #2
420 Boylston St., #302                  Dallas, Tx 75373-4673                 Mobile, AL 36608
Boston, MA 02116


Richard R. Thames                       Akerman LLP                           AT&T
Thames Markey & Heekin, PA              P.O. Box 4906                         P. O. Box 105262
50 North Laura Street                   Orlando, FL 32801                     Alanta, GA 30348
Suite 1600
Jacksonville, FL 32202

A Perfect Pressure Cleaning Inc         Alabama Dept. of Revenue              AT&T
P O Box 55                              Corporate Tax Section                 P O Box 105251
Baker, FL 32531                         P.O. Box 327430                       Atlanta, Ga 30348-5251
                                        Montgomery, AL 36132-7430


Aaron's Lock                            Alabama Power                         Auburn Water Works Board
190 Northside Cir.                      P. O. Box 242                         1501 W Samford Ave
Gulf Shores, AL 36542                   Birmingham, AL 35292                  Auburn, AL 36832



Aaron's Lock Service                    Alicia Averitt                        Auto Chlor - Hattiesburg
190 Northshore Cir.                     24749 Daw Rd.                         193 Country Place Parkway
Gulf Shores, AL 36542                   Elberta, AL 36530                     Pearl, MS 39208



Ackerman Security Systems               American Express                      Auto Chlor -Tuscaloosa
1346 Oakbrook Dr., #175                 P.O. Box 650448                       7452 Hwy 45 N
Norcross, GA 30093                      Dallas, TX 75265                      Columbus, MS 39705



Acoustical Specialist Inc               American Lawn Company                 Auto Chlor Services, LLC
P O Box 37190                           PO BOX 362-123                        P O Box 4869
Pensacola, FL 32526                     Hoover, AL 35236                      Dept 205
                                                                              Houston, TX 77210-4869


Air Care Systems                        Anytime Plumber                       Axion Communicatons
P O Box 1621                            175 W Airport Blvd                    3201 Corte Malpaso #311
Hunstville, AL 35807                    Pensacola, FL 32505                   Camarillo, CA 93012



Air Flow Mechnical Services, LLC        Ashland Station, LLC                  Baldwin County Revenue Commiss
P.O. Box 121                            2600 Dauphin Street                   201 E. Section Ave.
Pensacola, FL 32504                     Mobile, AL 36606                      Foley, AL 36535
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Baldwin Emc                             Birmingham Water Works                CenterPoint Energy, Inc.
P. O. Box 220                           P.O. Box 830269                       P O Box 4981
Summerdale, AL 36580                    Birmingham, AL 35283                  Houston, TX 77210



Barry Willingham, ACTA                  BKD, LLP                              Central Restaurant Products
P.O. Box 2220                           14241 Dallas Parkway, Ste. 1100       P.O. Box 78070
Cullman, AL 35056-2220                  Dallas, TX 75254                      Indianapolis, IN 46278-0070



Bay Area Point of Sales Inc             Bon Secour Fisheries                  Century Link
35992 Boykin Blvd                       P O Box 60                            P O Box 4300
Lillian, AL 36549                       Bon Secour, AL 36511                  Carol Stream, IL 60197-4300



Bay Climate Control & Refrigeration LLC Brandon Taff                          Certified Hood & Fire Specialists, In
P O Box 180443                          3001 Willow Lane Dr.                  P.O. Box 1963
Mobile, AL 36618                        Montgomery, AL 36109                  Foley, AL 36536



Bay County Tax Collector                BSD Food, Ltd.                        CIMA Engery Solutions LLC
850 W. 11th St.                         3900 Montclair Rd., #310              P O Box 746225
Panama City, FL 32401                   Birmingham, AL 35213                  Atlanta, GA 30374-6225



Beavers Law, LLC                        Cardinal Web Solutions                Cintas - Cincinnati Oh
4301 Dolly Ridge Rd.                    P.O. Box 930359                       P O Box 630910
FL 32543                                Atlanta, GA 31193-0359                Cincinnati, OH 45263



Bengal Development, LLC                 Carol Coplin                          Cintas - Dallas Tx
727 Sunset Rd                           12206 Front Beach Rd.                 P O Box 650838
Collins, MS 39428                       Panama City Beach, FL 32407           Dallas, TX 75265



BHT Grease Trap Solutions               CBD, Inc                              City of Auburn
P O Box 1596                            2056 Oak Grove Road                   144 Tichenor Ave., #6
Birmingham, AL 35201                    Hattiesburg, MS 39402                 Auburn, AL 36830



Bill Salter Advertising, Inc.           CBD, Inc.                             City of Evergreen
P.O. Box 761                            208 S. 28th Ave.                      P.O. Box 229
Milton, FL 32572                        Hattiesburg, MS 39401                 Evergreen, AL 36401
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City of Foley                          City Produce                            Cornerstone Media
P. O. Box 1750                         PO Box 1334                             2611 Commerce Blvd.
Foley, AL 36536                        Fort Walton Beach, FL 32549             Birmingham, AL 35210



City of Fort Walton Beach              Clarke-Mobile Counties Gas District     Costa Verde Landscaping LLC
107 Miracle Strip Pkwy SW,             24831 Canal Road                        P O Box 19097
Fort Walton Beach, FL 32548            Orange Beach, AL 36561                  Panama City Beach, FL 32417



City of Gulf Breeze                    Cleveland-Menu Printing, Inc.           Cottle Properties LLC
PO Box 640                             1441 E. 17th St.                        6003 Veterans Parkway
Gulf Breeze, FL 32562                  Cleveland, OH 44114                     Columbus, GA 31909



City of Gulfport Water and Sewer       Coca Cola - United                      Cottle Properties, LLC
PO Box 123643                          P O Box 105637                          P.O. Box 8545
Dept 3643                              Atlanta, GA 30348-5637                  Attn: Ron Cottle, Jr.
Dallas, TX 75312                                                               Columbus, GA 31908


City of Milton-                        Columbus Tax Comissioner                Cox Business - Dallas
P. O. Box 909                          3111 Citizens Way                       P O Box 919243
Milton, FL 32572                       Columbus, GA 31906                      Dallas, TX 75391-9243



City of Panama City Beach              Columbus Water Works                    Cox Business - Detroit
116 S. Arnold Rd.                      P O Box 1600                            P O Box 771911
Panama City Beach, FL 32413            Columbus, GA 31902                      Detroit, Mi 48277-1911



City of Pensacola                      Comcast Business                        CPC - Dallas, TX
P. O. Box 12910                        P O Box 71211                           P.O. Box 660831
Pensacola, FL 32521                    Charlotte, NC 28272-1211                Dallas, TX 75266



City of Ridgeland                      Conditioned Air Solutions LLC           CT Corporation
P O Box 217                            200 Dan Tibbs Rd NW                     P.O. Box 4349
Ridgeland, Ms 39158-0217               Huntsville, AL 35806                    Carol Stream, IL 60197



City of Tuscaloosa Water & Sewer Dep Conecuh County Tax Collector              Cullman County Revenue Commiss
P O Box 2153                         111 Court St., #106                       500 2nd Ave. SW, #102
Birmingham, AL 35287                 Evergreen, AL 36401                       Cullman, AL 35055
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Cullman Power Board                       Dixie Electric Company Inc              Evergreen Chamber of Commerce
P O Box 1680                              580 Trade Center Street                 100 Depot Sq.
Cullman, AL 35056-1680                    Montgomery, AL 36108                    Evergreen, AL 36401



Cullman-Jefferson Counties Gas District   Dixon Screen Printing                   FastSigns
P O Box 399                               312 W. Detroit Blvd                     8350 Florida Blvd Ste A-1
Cullman, AL 35056-0399                    Pensacola, FL 32534                     Baton Rouge, LA 70806



Cypress Outdoor Advertising, LLC          Earthworks Pro LLC                      FDOT - Expressway
P.O. Box 15457                            130 Woodland Drive                      P.O. Box 71237
Hattiesburg, MS 39404                     Denham Springs, LA 70726                Charlotte, NC 28272-1237



D&H Investment Properties, LLC            Edwin J. Spence                         FDOT - FL
110 Moores Road                           P.O. Box 904                            P.O. Box 310
Mandeville, LA 70471                      Gulf Shores, AL 36547                   Ocoee, FL 34761



Dana Graham                               Emerald Coast Utilities Authority       FDOT - GA
2403 Bradley Avenue                       P O Box 17089                           P.O. Box 105477
Bay Minette, AL 36507                     Pensacola, FL 32522                     Atlanta, GA 30348



Desporte and Sons Seafood, Inc            Emmet, Marvin & Martin LLP              Federal Service Corp
1075 Division Street                      120 Broadway, 32nd Fl.                  P.O. Box 485
P O Box 704                               New York, NY 10271                      Bay Minette, AL 36507
Biloxi, MS 39533


Destin Water Users, Inc.                  Ensley Shopping Center, Ltd.            FedEx
P O Box 308                               120 E. Main St., #A                     P.O. Box 660481
Destin, FL 32540                          Pensacola, FL 32502                     Dallas, TX 75266-0481



DigiPro Media                             Escambia County Tax Collector           Fineline Contractors Inc
214 E. Garden St.                         213 Palafox Pl.                         139 Creekwater Street
Pensacola, FL 32502                       Pensacola, FL 32502                     Helena, AL 35080



Direct TV                                 Evergreen                               Five R Investments, LLC
P O Box 105249                            318 Beverly Parkway                     151 W. Main St., #200
Alanta, GA 30348                          Pensacola, FL 32505                     Pensacola, FL 32502
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FL Dept. of Revenue                   Gabriel Fire & Security Inc   dba Gulftec Gilmore Services
5050 W. Tennessee St.                 3120 N Davis Hwy                          31 E. Fairfield Dr.
Tallahassee, FL 32399                 Pensacola, FL 32503                       Pensacola, FL 32501



FL Dept. of State                     Gabriel Fire & Security OLD              Goldring Gulf Distributing
Clifton Building                      P.O. Box 10365                           8245 Opportunity Dr.
2661 Executive Center Dr.             Pensacola, FL 32524-0365                 Milton, FL 32583
Tallahassee, FL 32301


Forrest Tax Collector's Office        Gardendale Plaza II, LLC                 Gulf Coast Gasket Guy
601 Main St.                          1200 Beacon Parkway East, Suite #706     9020 Krystal Ridge Ct.
Hattiesburg, MS 39401                 Birmingham, AL 35209                     Daphne, AL 36526



Fortune Gulf States LLC               Gasket Guy                               Gulf Coast Produce
13050 N Wintzell Ave                  9020 Krystal Ridge Ct.                   410 E. Section Ave.
BAYOU LABATRE, AL 36509               Daphne, AL 36526                         Foley, AL 36535



Fred Pryor                            Gatehouse Media                          Gulf Power Company
P.O. Box 219468                       P.O. Box 102801                          P.O. Box 29090
Kansas City, MO 64121-9468            Atlanta, GA 30368-2801                   Miami, FL 33102-9090



Fremin's Contractor Services, LLC     Gecko Hospitality                        Gulf Shores Utilities
1401 Schillinger Road North           Dept. 4542                               P.O. Box 1229
Semmes, AL 36575                      Carol Stream, IL 60122-4542              Gulf Shores, AL 36547-1229



Frozen Drink Machines                 George W. Barber Jr.                     Gulftech Fire & Security
P O Box 1272,                         27 Inverness Center Parkway              P.O. Box 10365
Gulf Shores, AL 36547                 Birmingham, AL 35242                     Pensacola, FL 32524



FRZ, LLC                              George W. Barber, Jr.                    Gulftech Fire & Security .
3146 Green Valley Rd.                 27 Inverness Center Pkwy.                P.O. Box 1020
Vestavia, AL 35243                    Birmingham, AL 35242                     Defuniak Springs, FL 32435



Fultondale Gas Department             Georgia Dept. of Revenue                 Harrison County Tax Collector
P O Box 609                           P.O. Box 740397                          1801 23rd Ave.
Fultondale, AL 35068                  Atlanta, GA 30374-0397                   Gulfport, MS 39501
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Harvest/Monrovia Lawn Care             Intermark Group, Inc.                   John M. O'Neil III
266 Nick Davis Rd                      101 25th St. N                          8500 Fowler Ave.
Madison, AL 35757                      Birmingham, AL 35203                    Pensacola, FL 32534



Hitachi Capital America Corp.          Internal Revenue Service                John M. O'Neill III
7808 Creekridge Cir., #250             P.O. Box 7346                           8500 Fowler
Minneapolis, MN 55439                  Philadelphia, PA 19101-7346             Pensacola, FL 32534



Hitachi Capital America Corp.          Ivory J. Jones                          John Michael Plumbing LLC
P.O. Box 1880                          2406 Kansas St.                         3004 Old Big Cove Road
Minneapolis, MN 55480-1880             Baton Rouge, LA 70802                   Owens Cross Roads, AL 35763



Hobart Sales & Service                 Jackson Lewis PC                        Kesco
10850 Hwy 72                           P.O. Box 416019                         1600 W Main St
Rogersville, AL 35652                  Boston, MA 02241-6019                   Pensacola, FL 32502



Holley Navarre Water System            JAMES B. PITTMAN JR PC                  Lamar Advertising
P O Box 6539                           P O Box 2525                            P.O. Box 96030
Navarre, FL 32566                      Daphne, AL 36526                        Baton Rouge, LA 70896



HRDirect                               Jefferson County Tax Assessor           Lawns by Tre LLC
P.O. Box 669390                        716 Richard Arrington Jr. Blvd. N       10596 Steeplechase DR
Pompano Beach, FL 33066-9390           #170                                    Gulfport, MS 39503
                                       Birmingham, AL 35203


Huntsville Utilities                   JMC Properties, LLC                     Lee County Revenue Commissione
ATTN: Commercial                       P.O. Box 70                             215 S. 9th St.
112 Spragins Street SW                 Douglasville, GA 30133                  Opelika, AL 36801
Huntsville, AL 35801


IHS Services Inc                       JMF Solutions Inc                       Lewis Critter Gitter Pest Control In
2603 Highland Ave                      P O BOX 222                             7050 W. Fairfield Dr.
Montgomery, AL 36107                   Monroe, AL 36559                        Pensacola, FL 32506



Information Transport Solutions, Inc   Joey Hostilo                            Lewis Critter Gitter Pest Control oFl
335 Jeanette Barrett Industrial Blvd   5311 Oxford Dr                          P O Box 850
Wetumpka, AL 36092                     Columbus, GA 31904                      Elberta, AL 32504-6252
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Liberty Utilities                     Mediacom - NC71219                     Montgomery Revenue Commission
75 Remittance Drive, Suite 1918       P O Box 71219                          100 S. Lawrence St.
Chicago, IL 60675                     Charlotte, NC 28272-1219               Montgomery, AL 36104



Louisiana Dept. of Revenue            Mediacom - NC71222                     Montgomery Water Works & Sewe
P.O. Box 201                          P O Box 71222                          P.O. Box 1670
Baton Rouge, LA 70821-0201            Charlotte, NC 28272-1222               Montgomery, AL 36102



M2 Lease Funds, LLC                   Mid-Coast Lawn Management Inc          Mood Media N America Holdings C
175 N. Patrick Blvd., #140            PO Box 6882                            P.O. Box 71070
Brookfield, WI 53045                  Miramar Beach, FL 32550                Charlotte, NC 28272



Madison County Tax Assessor           Mississippi Dept. of Revenue           Nix Landscape & Maintenance Inc
171 Cobblestone Dr.                   P.O. Box 23050                         P.O. Box 7531
Madison, MS 39110                     Jackson, MS 39225-3050                 Gulf Shores, AL 36547



Madison County Tax Collector          Mississippi Power                      North Alabama Gas
100 North Side Square, #116           P O Box 245,                           P.O. Box 1428
Huntsville, AL 35801                  Birmingham, AL 35201                   Madison, AL 35758



Marc B. Morris                        Mist Works                             North Baldwin Utilities
4655 Christy Drive                    2751 Avalon Blvd.                      25 Hand Ave
Pensacola, FL 32504                   Milton, FL 32583                       Bay Minette, AL 36507



Marvin Hillard                        Mobile Area Water & Sewer System       Okaloosa County Tax Collector
P O Box 54322                         P O Box 830130                         1250 N. Eglin Pkwy., #101
Pearl, MS 39288                       Birmingham, AL 35283-0130              Shalimar, FL 32579



McAdam Properties, LLC                Mobile County Revenue Commission       Okaloosa Gas District
151 Industrial Dr.                    3925 Michael Blvd., #G                 P O Box 548
Birmingham, AL 35211                  Mobile, AL 36609                       Valparaiso, FL 32580



McLemore Electric, Inc.               Mobile Fixtures & Equipment            On The Rocks LLC dba Joe T's W
                                                                                                          S
                                                                                                          &
P. O. Box 9625                        1155 Montlimar Dr.                     286 Hwy 51
Pensacola, FL 32513                   Mobile, AL 36609                       Ridgeland, MS 39157
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Orange Beach Water Authority           Pitney Bowes Global Financial           Restaurant Technologies, Inc
P. O. Box 247                          P.O. Box 371887                         12962 Collections Center Drive
Orange Beach, AL 36561                 Pittsburgh, PA 15250                    Chicago, IL 60693



P & M Investment Company               Plaintiff Groves                        Restaurant365
2 Buckland Abbey                       c/o H. Alison Burns, Esq.               500 Technology Dr., #2
Nashville, TN 37215                    ADA Group, LLC                          Irvine, CA 92618
                                       P.O. Box 231477
                                       Montgomery, AL 36123

Panhandle Pride Landscaping            Polar Bear Services, LLC                Riviera Utilities
633 Sandalwood Drive.                  2126 Lakeview Trace                     Payment Processing Center
Destin, FL 32541                       Trussville, AL 35173                    P O Box 580052
                                                                               Charlotte, NC 28258-0052


Parker's Landscape Service LLC         Professional Refrigeration & Maintenance Roto Rooter (GP Location)
P.O. Box 17361                         2105 Greenslope Trail NE                 P O Box 3498
Hattiesburg, MS 39404                  Huntsville, AL 35811                     Gulfport, MS 39505



PC Properties 741, LLC                 Purchase Power                          Roto Rooter - Lynn Haven
c/o Kalo Properties II, LLC            P.O. Box 371874                         2990 Minnesota Ave.
1114 Thomasville Rd., #Q               Pittsburgh, PA 15250                    Lynn Haven, FL 32444
Tallahassee, FL 32303


Pensacola News Journal                 R.E. Moore Construction Inc             RSM US, LLP
P.O. Box 677590                        1817 Blue Granite Ct                    100 International Dr., #14
Dallas, TX 75267                       Marietta, GA 30066                      Baltimore, MD 21202



Peoples Water Service of Fl Inc        Ray L. Crowell, Wanda Lundy, William    SafeGuard Corporation
PO Box 4815                             Rouse and E.G. Warren, Jr.             39610 US Highway 280
Pensacola, FL 32507                    d/b/a Highway 49 Venture                Sylacauga, AL 35150
                                       9034 Carl Legett Rd.
                                       Gulfport, MS 39503

Philippou Brothers, Inc.               REDI-TO-SERV                            Santa Rosa County Tax Collector
236 Charleston Ct. S                   P O Box 2709                            6495 Caroline St. E
Montgomery, AL 36117                   Huntsville, AL 35804                    Milton, FL 32570



Phillippou Brothers Inc                Regions Bank                            SB FSD, LLC
2224 North University Street           1180 W. Peachtree St., #1400            c/o G2 Capital Advisors, LLC
Visalia, CA 93291                      Mail Code GAAT11400B                    420 Boylston St., #302
                                       Attn: JoAnn Tehranchi                   Boston, MA 02116
                                       Atlanta, GA 30309
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SB Ridgeland LLC                     Soundside Market, LLC                    SYSCO GULF COAST INC.
30530 Middle Creek Circle            Baybridge Professional Park, #113        2001 West Magnolia Ave
Spanish Fort, AL 36527               Attn: Julian B. MacQueen                 Genevia, AL 36340
                                     Gulf Breeze, FL 32561


SBBC Shell, LLC                      South Alabama Gas                        TECO Peoples Gas
c/o G2 Capital Advisors, LLC         714 West Front Street                    P O Box 31318
420 Boylston St., #302               Evergreen, AL 36401                      Tampa, FL 33631-3318
Boston, MA 02116


SBNH, LLC                            South Baldwin Chamber of Commerce        The Groundskeeper Lawn Maintena
                                                                                                            In
c/o G2 Capital Advisors, LLC         P.O. Box 1117                            2451 Semur Rd.
420 Boylston St., #302               Foley, AL 36536                          Pensacola, FL 32503
Boston, MA 02116


Sewer & Water Utility Bill           Spectrum Business                        The Yard Works of West Alabama
P.O. Box 830269,                     P O Box 742614                           3203 Pin Oak Dr,
Birmingham, AL 35283                 Cincinnati, Oh 45274-2614                Tuscaloosa, AL 35405



Shoes for Crews LLC                  Spire                                    Thornton's Lawn Care LLC
P O Box 734176                       PO BOX 2224                              P O Box 311
Chicago, IL 60673-4176               Birmingham, AL 35246-0022                Vinemont, AL 35179



Shrimp Basket Holdings, LLC          Spire - Ms                               Tiger WM, LLC
7282 Plantation Rd., #301            P O Box 93229                            1695 East University Drive
Pensacola, FL 32504                  Atlanta, Ga 31193-2299                   Auburn, AL 36830



Shrimp Basket Restaurants, LLC       Stewart's Electrical Contractors Inc     Tiger-WM, LLC
201 N. New York Ave., #200           40680 State Hwy 59                       c/o Redd Realty Services
Winter Park, FL 32789                Bay Minette, AL 36507                    4200 Northside Pkwy.
                                                                              Bldg. 10, #101
                                                                              Atlanta, GA 30327-3080

Snapper Leasing, LLC                 Summit Investment Management             Tillman's Corner Partners, LP
P.O. Box 904                         1700 Lincoln St., #2150                  P O Box 235021
Orange Beach, AL 36561               Denver, CO 80203                         Montgomery, AL 36123



SoftTouch, LLC                       Sun Herald Advertising                   Tillman's Corner Partners, LP
45 Old Solomons Island Rd., #102     P.O. Box 51219                           c/o Aronov Realty Management, Inc
Annapolis, MD 21401                  Livonia, MI 48151                        P.O. Box 23500
                                                                              Attn: Legal Dept.
                                                                              Montgomery, AL 36123-5000
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Tillman's Corner Partners, LP        Warren Averett, LLC
c/o Aronov Realty Management, Inc.   2500 Action Rd.
P.O. Box 235000                      Birmingham, AL 35243
Attn: Legal Department
Montgomery, AL 36123-5000

Tom Parrott, Esq.                    Waste Management
Moore & Van Allen PLLC               P O Box 55558
100 N. Tyron St.                     Boston, MA 02205-5558
Charlotte, NC 28202


TSI                                  Waste Pro - Gauiter
P.O. Box 2422,                       PO Box 865289,
Orange Beach, AL 36561               Orlando, FL 32886



TSSAF Properties, LLC                Waste Pro - Molbie
P.O. BOX 77130                       P O Box 865261
Baton Rouge, LA 70879                Orlando, FL 32886-5261



TSSAF, LLC                           Webb's Seafood Inc
4225 Perkins Rd.                     12603 Highway 231
Baton Rouge, LA 70808                Youngstown, FL 32466



Tuscaloosa County Tax Collector      Webster Bank, N.A.
714 Greensboro Ave.                  185 Asylum St., 5th Fl.
Tuscaloosa, AL 35401                 HFD 610
                                     Attn: Donna Webster
                                     Hartford, CT 06103

TWC Inc                              Whaley Foodservice
P O Box 1612                         P.O. Box 615
Des Moines, IA 50306-1612            Lexington, SC 29071



UL, LLC                              Wheels Up, Inc.
333 Pfingsten Road                   P.O. Box 904
Northbrook, IL 60062                 Gulf Shores, AL 36547



Verizon Wireless                     WOW Business
P.O. Box 660108                      P O Box 70999
Dallas, TX 75266                     Charlotte, NC 28272-0999
